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                            ¹ 19!50377

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT



                UNITED STATES OF AMERICA,

                          Plaintiff-Appellee,

                                   v.

              JESUS RAUL SALAZAR-ESPINOZA,

                         Defendant-Appellant.



             Appeal from the United States District Court
For the Central District of California, U.S.D.C. 2:17!cr!00288!AB!1
    The Honorable Andre Birotte, Jr., United States District Judge



                     EXCERPTS OF RECORD

                            Volume 2 of 3



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                              JESUS RAUL SALAZAR-ESPINOZA



                                                                           ER 8
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                                                                                 1 Page   126#:208
LAUREN RESTREPO (Cal. Bar No. 319873)
Assistant United States Attorney, Cyber Crimes Section
1500 United States Courthouse
312 North Spring Street
Los Angeles, California 90012


                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                    CASE NUMBER:

                                                                               CR 17-288-AB
                                             PLAINTIFF(S)
                    v.
JESUS RAUL SALAZAR ESPINOZA                                          NOTICE OF MANUAL FILING
                                                                           OR LODGING
                                           DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed          Lodged : (List Documents)
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SEAL]; DECLARATION OF LAUREN RESTREPO [FILED UNDER SEAL]; PROPOSED ORDER SEALING
DOCUMENT [FILED UNDER SEAL]; GOVERNMENT'S SEALED DOCUMENT [FILED UNDER SEAL]
(WITH SERVICE ON PARTIES).




Reason:
 ✔        Under Seal
          In Camera
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          Other:




August 27, 2019                                               /s/ Lauren Restrepo
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented


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G-92 (05/15)                             NOTICE OF MANUAL FILING OR LODGING
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                    CRIMINAL MINUTES - CHANGE OF PLEA


  Case No.       CR 17-00288-AB                                                                   Date    November 2, 2018


  Present: The Honorable         ANDRÉ BIROTTE JR., United States District Judge
  Spanish Interpreter:           F. Javier Villalobos
             Carla Badirian                                 Chia Mei Jui                             Lauren Restrepo
                 Deputy Clerk                           Court Reporter                            Assistant U.S. Attorney



       U.S.A. v. Defendant(s):           Present   Custody      Bond        Attorney(s) for Defendant(s):     Present App. Ret.

Jesus Raul Salazar-Espinoza                √            √                 Angel Navarro, CJA                       √   √
  Proceedings:        CHANGE OF PLEA (Held and Completed)

Defendant moves to change plea to the Indictment.

Defendant now enters a new and different plea of Guilty to Counts 1 and 4 of the Indictment.

The Court questions the defendant regarding plea of Guilty and finds it knowledgeable and voluntary
and orders the plea accepted and entered.

The Court refers the defendant to the Probation Office for investigation and report and continues the
matter to Friday, May 3, 2019, at 1:30 p.m., for sentencing.

The Court vacates the Jury Trial date.

The Court orders this matter referred to the U.S. Probation Office for a presentence investigation and
preparation of a presentence report. The report is to be disclosed to the defendant thirty-five (35) days
prior to sentencing unless the minimum period is waived.

The Court recommends that the defendant be seen, as soon as possible, to be given an examination for
his diabetic condition.

cc:    USPO, PSA, MDC, BOP
                                                                                                         00        :   45
                                                                       Initials of Deputy Clerk
                                                                                                              CB



                                                                                                                   ER 21
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1                        UNITED STATES DISTRICT COURT

2           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

3            HONORABLE ANDRÉ BIROTTE JR., U.S. DISTRICT JUDGE

4

5    UNITED STATES OF AMERICA,       )
                                     )
6                    PLAINTIFF,      )
                                     )
7              vs.                   ) No. CR 17-0288-AB
                                     )
8    JESUS RAUL SALAZAR-ESPINOZA,    )
                                     )
9                   DEFENDANT.       )
     ________________________________)
10

11

12

13                  REPORTER'S TRANSCRIPT OF PROCEEDINGS

14                          FRIDAY, NOVEMBER 2, 2018

15                                   1:45 P.M.

16                          LOS ANGELES, CALIFORNIA

17

18

19

20

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22   ____________________________________________________________

23                   CHIA MEI JUI, CSR 3287, CCRR, FCRR
                       FEDERAL OFFICIAL COURT REPORTER
24                    350 WEST FIRST STREET, ROOM 4311
                       LOS ANGELES, CALIFORNIA 90012
25                           cmjui.csr@gmail.com


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                           ER 22
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1    APPEARANCES OF COUNSEL:

2    FOR THE PLAINTIFF:

3              OFFICE OF THE UNITED STATES ATTORNEY
               BY: LAUREN RESTREPO
4              ASSISTANT U.S. ATTORNEY
               312 NORTH SPRING STREET
5              13TH FLOOR
               LOS ANGELES, CALIFORNIA 90012
6              (213) 894-2434

7
     FOR THE DEFENDANT:
8
               ANGEL NAVARRO, ATTORNEY AT LAW
9              1 SOUTH FAIR OAKS AVENUE
               SUITE 401
10             PASADENA, CALIFORNIA 91105
               (626) 390-6621
11

12

13   ALSO PRESENT:

14             F. JAVIER VILLALOBOS, Spanish interpreter

15

16

17

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19

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                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1           LOS ANGELES, CALIFORNIA; FRIDAY, NOVEMBER 2, 2018

2                                    1:45 P.M.

3                                      - - -

4                 THE CLERK:     Calling CR 17-0288-AB, United States

5    of America versus Jesus Raul Salazar-Espinoza.

6                 Counsel, please step forward and state your

7    appearances.

8                 MS. RESTREPO:      Good afternoon, Your Honor.

9    Lauren Restrepo on behalf of the United States.

10                THE COURT:     I almost didn't recognize you,

11   Miss Restrepo.      Good to see you again.

12                MR. NAVARRO:     Your Honor, good afternoon.          Angel

13   Navarro on behalf of Mr. Salazar who is making his way

14   inside.

15                THE COURT:     Good to see you, Mr. Navarro.

16                We have our court interpreter.          If we can please

17   have our dear friend identify himself for the record,

18   please, Mr. Villalobos.

19                THE INTERPRETER:      F. Javier Villalobos, Spanish

20   language interpreter, oath on file.

21                THE COURT:     Thank you for being here this

22   afternoon.

23                This originally was on for status conference, but

24   I have seen some pleadings that have been filed in the

25   meantime.     So we're going to go through a change of plea; is


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1    that correct?

2                 MS. RESTREPO:      That's correct, Your Honor.

3                 MR. NAVARRO:     Yes, Your Honor.

4                 THE COURT:     We'll await your client.

5          (The defendant enters the courtroom.)

6                 MR. NAVARRO:     Thank you, Your Honor.         We're ready.

7                 THE COURT:     All right.     Let me just get my notes

8    on this.

9                 MR. NAVARRO:     Could I have a second, Your Honor?

10                THE COURT:     Absolutely.     Take your time.

11         (Brief pause in the proceedings.)

12                THE COURT:     Are we ready?

13                MR. NAVARRO:     Yes, Your Honor.

14                THE COURT:     I understand we are here today because

15   Mr. Salazar-Espinoza wants to enter pleas of guilty to

16   Counts 1 and 4 of the Indictment; is that correct,

17   Mr. Navarro?

18                MR. NAVARRO:     Correct, Your Honor.

19                THE COURT:     Sir, we're going to be here for about

20   30 or 40 minutes.       Okay?    Before I can accept your plea, I

21   have to be sure that you are fully informed of all of your

22   rights and that you understand those rights and what's

23   happening here this afternoon.

24                I am going to ask you a number of questions.              I am

25   going to inform you of the rights that you have, but if


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1    there is anything that I say that you don't understand,

2    please let your lawyer know or let me know, and we will do

3    what we can to try to explain it to you.             All right, sir?

4    Because this is very important, an important decision for

5    you, and I need to make sure that you understand the

6    consequences of your plea.         All right, sir?

7                 THE DEFENDANT:      Okay.

8                 THE COURT:     All right.     So we're going to place

9    you under oath at this time.

10                THE CLERK:     Please raise your right hand.

11                You do solemnly swear that you will make true

12   answers to such questions that the Court will ask you

13   regarding your change of plea, so help you God?

14                THE DEFENDANT:      Yes.

15                THE COURT:     All right.     Sir, you have now been

16   placed under oath and so, if you answer any of my questions

17   falsely, those answers could be used in a later prosecution

18   for perjury or for making a false statement.              Do you

19   understand that, sir?

20                THE DEFENDANT:      Yes.

21                THE COURT:     Do you understand that you also have

22   the right to remain silent and not answer any of my

23   questions?

24                THE DEFENDANT:      Yes.

25                THE COURT:     Do you give up that right, sir?


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1                 THE DEFENDANT:      Yes.

2                 THE COURT:     And what is your true and correct full

3    name?

4                 THE DEFENDANT:      Jesus Raul Salazar-Espinoza.

5                 THE COURT:     And how old are you, sir?

6                 THE DEFENDANT:      Fifty-one.

7                 THE COURT:     All right.     How many years of school

8    have you completed?

9                 THE DEFENDANT:      Six.

10                THE COURT:     Have you been treated recently for any

11   mental illness or addiction to narcotics of any kind?

12                THE DEFENDANT:      No.

13                THE COURT:     Are you under the influence of any

14   drug, medication, or alcoholic beverage of any kind?

15                THE DEFENDANT:      No.

16                THE COURT:     Have you had any drugs, medication, or

17   alcohol within the last three days?

18                THE DEFENDANT:      No.    No.

19                THE COURT:     Do you suffer from any mental

20   condition or disability that would prevent you from fully

21   understanding the charges against you and the consequences

22   of your plea?

23                THE DEFENDANT:      No.

24                THE COURT:     So, Mr. Navarro --

25                MR. NAVARRO:     May I have a second, Your Honor?


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1                 THE COURT:     Absolutely.

2          (Brief pause in the proceedings.)

3                 MR. NAVARRO:     Thank you, Your Honor.         I was

4    advising my client to let you finish your question.                He

5    understands a lot of English so he is getting ahead of

6    himself.

7                 THE COURT:     Sir, we have time.       So if you need me

8    to ask the question again, don't hesitate.              Okay?

9                 THE DEFENDANT:      Okay.

10                THE COURT:     All right.

11                Mr. Navarro, have you talked to your client about

12   these proceedings?

13                MR. NAVARRO:     We have, Your Honor.

14                THE COURT:     And do you have any reason to believe

15   that Mr. Salazar-Espinoza should not go forward with this

16   plea today?

17                MR. NAVARRO:     No, Your Honor.

18                THE COURT:     Do you believe he is in possession of

19   his faculties and is competent to proceed?

20                MR. NAVARRO:     He is, Your Honor.

21                THE COURT:     Based on the statements of the

22   testimony and his counsel and my own observations, I do find

23   that Mr. Salazar-Espinoza is in full possession of his

24   faculties and is competent to proceed.

25                Mr. Salazar-Espinoza, have you received a copy of


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             ER 28
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1    the Indictment -- that's the written document that outlines

2    the charges against you?

3                 THE DEFENDANT:      Yes.

4                 THE COURT:     You have the right to have me read the

5    Indictment to you here in open court.            Do you want me to

6    read it to you at this time?

7                 THE DEFENDANT:      No.

8                 THE COURT:     You also have the following

9    constitutional rights that you will be giving up by pleading

10   guilty.    You have the right to plead not guilty.             You have

11   the right to a speedy and public trial.             You have the right

12   to a trial by jury.        And at a trial, you would be presumed

13   innocent, and it would be up to the government to prove to

14   either a jury or this Court each and every element of the

15   offense.     And the government would have to have the burden

16   of proving those elements by a standard that's known as

17   beyond a reasonable doubt.

18                If you and the government agree, you could give up

19   the right to a jury trial and instead I would hear the

20   evidence and I will make a decision as to whether the

21   government has proved its case.

22                Even if you weren't to plead guilty this

23   afternoon, you would have the right to have a defense lawyer

24   represent you in these proceedings.            If you couldn't afford

25   a lawyer, one would be appointed for you free of charge to


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1    assist you at the trial and at every other stage of the

2    proceedings.

3                 You have the right to see and hear and have your

4    lawyer question the witnesses against you.              You would have

5    the right to have witnesses subpoenaed and compelled to

6    testify on your behalf.         You could testify in court on your

7    own behalf, but you also have what is known as the privilege

8    against self-discrimination, which means you have the

9    absolute right not to testify or otherwise incriminate

10   yourself in any way.

11                If you went to trial and you decided not to

12   testify, that fact could not be used against you.               But by

13   pleading guilty, you are going to give up that right

14   because -- and you will be incriminating yourself.

15                And if you went to trial and were convicted, you

16   have the right to appeal that conviction as well.

17                Have you and Mr. Navarro talked about all of those

18   rights?

19                THE DEFENDANT:      Yes.

20                THE COURT:     Do you understand all of those rights?

21                THE DEFENDANT:      Yes.

22                THE COURT:     Do you have any questions of me about

23   any of those rights?

24                THE DEFENDANT:      No, Your Honor.

25                THE COURT:     All right.     So then do you understand


                   CHIA MEI JUI, CSR 3287, CRR, FCRR
     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1     that, if I accept your plea, you are going to be

2     incriminating yourself because you are going to be saying,

3     "I did the things -- or some of the things that are charged

4     in the Indictment," and you will have waived or given up

5     your right to a trial and all the rights that I have just

6     described.     Do you understand that, sir?

7                 THE DEFENDANT:       Yes.

8                 THE COURT:      Do you give up those rights?

9                 THE DEFENDANT:       Yes.

10                THE COURT:      Mr. Navarro, are you satisfied that

11    the waivers are knowingly, voluntarily, and intelligently

12    made?

13                MR. NAVARRO:       Yes.

14                THE COURT:      Do you join and concur in the waivers?

15                MR. NAVARRO:       I do.

16                THE COURT:      Mr. Salazar-Espinoza, you are going to

17    be pleading guilty to Counts 1 and 4 of the Indictment.

18                Count 1 charges you with possession with the

19    intent to distribute methamphetamine, in violation of

20    Title 21, United States Code Section 841(a)(1),

21    (b)(1)(A)(viii); and you are also charged with possession of

22    a firearm in furtherance of a drug trafficking crime in

23    violation of 18 -- Title 18 United States Code Section

24    924(c).    I am going to have the government outline the

25    elements for those charges.


                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1                 One last thing.       Both of those charges, sir, are

2     felonies.     So I am going to ask you to listen to the

3     elements of -- for those charges from the government.

4                 Miss Restrepo.

5                 MS. RESTREPO:       For defendant to be guilty of the

6     crime charged in Count 1, that is possession with intent to

7     distribute methamphetamine, violation of Title 21,

8     United States Code Sections 841(a)(1) and

9     841(b)(1)(A)(viii), the following must be true:                One,

10    co-defendant knowingly possessed methamphetamine; two,

11    defendant possessed the methamphetamine with the intent to

12    distribute it to another person.

13                For the defendant to be guilty of the crime

14    charged in Count 4, that is, possession of a firearm in

15    furtherance of a drug trafficking crime, in violation of

16    Title 18 United States Code Section 924(c), following must

17    be true:    One, defendant committed the crime of possession

18    with the intent to distribute methamphetamine as charged in

19    Count 1 of the Indictment, which is a drug trafficking

20    crime; two, defendant knowingly possessed a firearm; and,

21    three, defendant possessed the firearm in furtherance of the

22    crime of possession with intent to distribute

23    methamphetamine as charged in Count 1 of the Indictment.

24                For defendant to be subject to the statutory

25    maximum and statutory minimum sentences set forth in the


                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             ER 32
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1     plea agreement, the government must prove beyond a

2     reasonable doubt that defendant possessed with intent to

3     distribute at least 50 grams of methamphetamine.

4                 THE COURT:      Thank you, Miss Restrepo.

5                 Sir, do you understand the nature of both of the

6     charges that you are going to be pleading guilty to today?

7                 THE DEFENDANT:       Yes.

8                 THE COURT:      Have you discussed the charges and the

9     elements for -- of the charges with Mr. Navarro?

10                THE DEFENDANT:       Yes.

11                THE COURT:      Do you have any questions of me about

12    the charges?

13                THE DEFENDANT:       No.

14                THE COURT:      All right.     Sir, have you talked with

15    Mr. Navarro about the maximum penalties and any mandatory

16    minimum penalties that apply to these charges?

17                THE DEFENDANT:       Yes.

18                THE COURT:      Just for the record, I'll have

19    Miss Restrepo, if you please, outline I believe the maximum,

20    and I believe there are two mandatory minimum penalties that

21    apply to this case.

22                MS. RESTREPO:       The statutory maximum sentence that

23    the Court can impose for violation of Title 21,

24    United States Code Sections 841(a)(1) and 841(b)(1)(A)(viii)

25    is life imprisonment, a lifetime period of supervised


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1     release, a fine of $10 million, twice the gross gain or

2     gross loss resulting from the offense, whichever is

3     greatest, and mandatory special assessment of $100.

4                 The statutory maximum sentence that the Court can

5     impose for a violation of Title 18 United States Code

6     Section 924(c)(1)(A) is life imprisonment, a five-year term

7     of supervised release, a fine of $250,000, twice the gross

8     gain or gross loss resulting from the offense, whichever is

9     greatest, and a mandatory special assessment of $100.

10                Therefore, the total maximum sentence for all

11    offenses to which defendant is pleading guilty is life

12    imprisonment, lifetime period of supervised release, a fine

13    of $10,250,000, or twice the gross gain or gross loss

14    resulting from the offense, whichever is greatest, and a

15    mandatory special assessment of $200.

16                Statutory mandatory minimum sentence that the

17    Court must impose for violation of Title 21,

18    United States Code Sections 841(a)(1), 841(b)(1)(A)(viii),

19    ten imprisonment, a five-year period of supervised release,

20    and a mandatory special assessment of $100.

21                Statutory mandatory minimum sentence that the

22    Court must impose for violation of Title 18 United States

23    Code Section 924(c)(1)(A) is a five-year term of

24    imprisonment, which must run consecutive to any other

25    sentence of imprisonment and a mandatory special assessment


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1     of $100.

2                 THE COURT:      All right.     Thank you, Miss Restrepo.

3                 Sir, did you understand everything that the

4     prosecutor just said?

5                 THE DEFENDANT:       Yes.

6                 THE COURT:      So you understand that, at least as

7     currently charged, you are looking at a mandatory minimum

8     penalty of 15 years in prison.           Do you understand that?

9                 THE DEFENDANT:       Yes.

10                THE COURT:      Now, this is a drug offense.           I

11    believe the government must prove at least the quantity

12    of -- is it 50 grams?

13                MS. RESTREPO:       That's correct, Your Honor.

14                THE COURT:      So, sir, if this case were to go to

15    trial, the government would be required to prove to either a

16    jury or this Court beyond a reasonable doubt that the

17    quantity of drugs involved in this case is at least the

18    amount described by the prosecutor which was 50 grams of

19    methamphetamine.

20                So, in essence, you would have the right to have a

21    jury or this Court determine if the government could prove

22    that that minimum amount was involved.

23                Do you admit that the drug offense that you are

24    pleading guilty to involved at least the quantity of drugs

25    described by the government?


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1                 THE DEFENDANT:       Yes.

2                 THE COURT:      Do you waive or give up the right to

3     have a jury or this Court determine the amount of drugs

4     involved?

5                 THE DEFENDANT:       Yes.

6                 THE COURT:      Because the maximum penalty is life

7     imprisonment and because there are mandatory minimums that

8     apply to this case, you are not eligible for a probationary

9     sentence.     Do you understand that, sir?

10                THE DEFENDANT:       Yes.

11                THE COURT:      You may be subject to what's known as

12    supervised release for a number of years after your release

13    from prison.

14                Have you discussed with Mr. Navarro and do you

15    understand what that means, what "supervised release" means?

16                THE DEFENDANT:       Yes.

17                THE COURT:      So you understand that, if you are

18    sent to prison and then after you are released you are

19    placed on supervised release for a number of years, if you

20    were to violate the terms and conditions of your supervised

21    release, I could send you back to prison for all or part of

22    the term of your supervised release.             Do you understand

23    that, sir?

24                THE DEFENDANT:       Yes, Your Honor.

25                THE COURT:      And if that were to happen, it could


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1     result in you serving a total term of imprisonment that

2     is -- well, in this case it's difficult because the

3     statutory maximum is life.          So you wouldn't be sentenced to

4     more than life, obviously; but you could end is up getting a

5     prison sentence that may be higher than the mandatory

6     minimum that you initially received in this case.                Do you

7     understand that?

8                 THE DEFENDANT:       Yes.

9                 THE COURT:      If you are presently on parole,

10    probation, or supervised release on another case, your plea

11    of guilty this afternoon could be the basis for what's known

12    as a revocation of that parole, probation, or supervised

13    release, and, as a result, you could be returned to prison

14    in the other case separate from this case.              Do you

15    understand that, sir?

16                THE DEFENDANT:       Yes.

17                THE COURT:      And I tell everyone this, and I don't

18    know if this applies to you or not but just in the abundance

19    of caution, if you are not a citizen of the United States,

20    this plea and your conviction may cause you to be deported

21    or removed from the United States, and it may result in the

22    denial of naturalization or citizenship, amnesty, residency

23    status, and admission to the United States in the future.

24    Do you understand that, sir?

25                THE DEFENDANT:       Yes.


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1                 THE COURT:      Because this is a felony, it may also

2     deprive you of certain valuable civil rights, such as the

3     right to vote, the right to hold public office, the right to

4     serve on a jury, and the right to possess a firearm of any

5     kind.    Do you understand that, sir?

6                 THE DEFENDANT:       Yes, Your Honor.

7                 THE COURT:      You may also be ineligible for

8     assistance under state programs that are funded under the

9     Social Security Act or the Federal Food Stamp Act.                 Do you

10    understand that, sir?

11                THE DEFENDANT:       Yes.

12                THE COURT:      I know we have talked about a lot this

13    afternoon, but do you understand the possible consequences

14    of your plea, including the maximum sentence, the mandatory

15    minimum sentence that applies, and the other terms that the

16    government and this Court have talked about this afternoon?

17                THE DEFENDANT:       Yes.

18                THE COURT:      Do you have any questions about the

19    possible sentence that you may receive if I accept your

20    guilty plea this afternoon?

21                THE DEFENDANT:       No.    Everything is fine.

22                THE COURT:      You don't have any questions of me at

23    all, sir?

24                THE DEFENDANT:       No.

25                MR. NAVARRO:       My client is going to be addressing


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1     the Court.     We have some medical issues that we want to

2     raise with the Court but at the end.

3                 THE COURT:      Fair enough.

4                 I will give you that opportunity, sir.              Okay?

5                 All right.      Is there any reason why we should not

6     continue to take your guilty plea this afternoon?

7                 THE DEFENDANT:       No.    It's okay.

8                 THE COURT:      So, sir, you are going to be sentenced

9     under what's known as the Sentencing Reform Act of 1984.

10    There is an organization out of Washington, D.C., the

11    United States Sentencing Commission.             They have issued

12    guidelines that judges must consult and take into account

13    but are not required to follow in determining the sentence

14    in criminal cases.

15                In determining your sentence, the Court will be

16    required to calculate the applicable sentencing guidelines

17    range and to consider that range and any possible departures

18    under the sentencing guidelines and other sentencing factors

19    as well.

20                Have you and Mr. Navarro talked about how the

21    sentencing guidelines might be applied to your case?

22                THE DEFENDANT:       Yes.

23                THE COURT:      Do you understand, sir, that,

24    regardless of the guidelines range, I could sentence you to

25    up to the maximum sentence that's allowed by law in this


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1     case?    Do you understand, sir?

2                 THE DEFENDANT:       Yes.

3                 THE COURT:      Now, neither this Court nor your

4     lawyer will be able to determine what the guidelines range

5     for your case is until after a presentence report has been

6     prepared.     Do you understand that?

7                 THE DEFENDANT:       Yes.

8                 THE COURT:      Once that report is prepared, your

9     lawyer and you will have a copy of it that you can go over,

10    the government will have a copy, and I will have a copy of

11    that report.      Both you and your lawyer and the government

12    will have an opportunity to file any objections to the

13    report and file a document indicating what you believe the

14    appropriate sentence should be.           Do you understand that,

15    sir?

16                THE DEFENDANT:       Yes.

17                THE COURT:      Now, do you understand that the

18    sentence I impose may be different than any estimate that

19    your lawyer has given you.          Do you understand, sir?

20                THE DEFENDANT:       Yes.

21                THE COURT:      I could impose a sentence that is

22    either more severe or less severe than what the guideline

23    range is.     Do you understand that?

24                THE DEFENDANT:       Yes.

25                THE COURT:      And the fact that you may be uncertain


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1     as to what the sentence will be -- or let's say you are

2     disappointed in what the sentence is, that would not be a

3     basis by itself to withdraw the plea and say, "Hey, I want

4     to start all over again."         Do you understand that?

5                 THE DEFENDANT:       Yes.

6                 THE COURT:      So, Mr. Salazar-Espinoza, has anyone

7     made any promises, representations, or guarantees of any

8     kind in order to get you to plead guilty to this case?

9                 THE DEFENDANT:       No.

10                THE COURT:      Has anyone told you a specific

11    sentence that this Court would impose in the event that I

12    accept your guilty pleas?

13                THE DEFENDANT:       No.

14                THE COURT:      Has anyone attempted to threaten you,

15    your family, or anyone close to you, or in any way try to

16    force you to plead guilty in this case?

17                THE DEFENDANT:       No.

18                THE COURT:      Do you understand, if the sentence you

19    get is more severe than what you expected, as I mentioned

20    that in and of itself would not be a basis for you to

21    withdraw your plea of guilty.           Do you understand that?

22                THE DEFENDANT:       Yes.

23                THE COURT:      Are you pleading guilty voluntarily

24    and of your own free will?

25                THE DEFENDANT:       Yes.


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1                 THE COURT:      Is there an agreement with respect to

2     a sentence in this case?         I know there is some reference to

3     some other factors in paragraph 3 of the agreement, but is

4     that it as it relates to the sentence?

5                 MS. RESTREPO:       Yes, Your Honor.

6                 THE COURT:      Miss Restrepo, I neglected to ask.

7     What about with respect to the appellate rights?                Is there a

8     limited mutual waiver of appeal?

9                 MS. RESTREPO:       There is, Your Honor.

10                THE COURT:      Would you please outline that waiver

11    at this time.

12                MS. RESTREPO:       Yes, Your Honor.

13                With the exception of an appeal based on the claim

14    that the defendant's guilty pleas were involuntary, by

15    pleading guilty the defendant is waiving and giving up any

16    right to appeal defendant's convictions on the offenses to

17    which defendant is pleading guilty.

18                This waiver includes but is not limited to

19    argument that the statutes to which defendant is pleading

20    guilty are unconstitutional and any and all claims that the

21    statement of facts provided in the plea agreement is

22    insufficient to support defendant's pleas of guilty.

23                Provided the Court imposes a term of imprisonment

24    on all counts of no more than 270 months, defendant gives up

25    the right to appeal all of the following:


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1                 A, the procedures and calculations used to

2     determine and impose any portion of the sentence; B, the

3     term of imprisonment imposed by the Court; C, the fine

4     imposed by the Court provided it is within the statutory

5     maximum; D, the term of probation or supervised release

6     imposed by the Court provided it is within the statutory

7     maximum; and, E, any of the following conditions of

8     probation or supervised release imposed by the Court, the

9     conditions set forth in General Orders 318, 01-05 and/or

10    05-02 of this Court, the drug testing conditions mandated by

11    Title 18 United States Code Sections 3563(a)(5) and 3583(d),

12    and the alcohol and drug use conditions authorized by

13    Title 18 United States Code Section 3563(b)(7).

14                THE COURT:      All right.     Thank you, Counsel.

15                Sir, did you discuss giving up all of those rights

16    as described by the prosecutor with your lawyer?

17                THE DEFENDANT:       Yes.

18                THE COURT:      So I will accept the plea based on

19    that understanding.

20                Mr. Navarro, if I could turn to you.             Did you

21    review the facts of the case and all the discovery provided

22    by the government with your client?

23                MR. NAVARRO:       Yes, Your Honor.

24                THE COURT:      Did you pursue with him any potential

25    defenses that he might have to this case?


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1                 MR. NAVARRO:       We did.

2                 THE COURT:      Have you advised Mr. Salazar-Espinoza

3     concerning the legality or admissibility of any statements

4     or confessions or other evidence that the government has

5     against him?

6                 MR. NAVARRO:       I did, Your Honor.

7                 THE COURT:      To the best of your knowledge, is

8     Mr. Salazar-Espinoza pleading guilty because of any

9     illegally obtained evidence in the possession of the

10    government?

11                MR. NAVARRO:       He is not, Your Honor.

12                THE COURT:      Did you and Mr. Salazar-Espinoza agree

13    that it was in his best interests to enter into this plea?

14                MR. NAVARRO:       We did, Your Honor.

15                THE COURT:      Is it your opinion that he is entering

16    into this plea freely and voluntarily with a full knowledge

17    of the charges and the consequences of the plea?

18                MR. NAVARRO:       He is.

19                THE COURT:      Have there been any promises,

20    representations, or guarantees made to either you or your

21    client other than what's contained in the plea agreement?

22                MR. NAVARRO:       No, Your Honor.

23                THE COURT:      Other than a general discussion of the

24    guidelines and other sentencing considerations, have you

25    given Mr. Salazar-Espinoza any indication of what a specific


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1     sentence -- I should say of what specific sentence this

2     Court would impose or conveyed to him any promise of a

3     particular sentence or sentence range in the event that the

4     Court accepts the plea this afternoon?

5                 MR. NAVARRO:       No, Your Honor.

6                 THE COURT:      Do you know any reason why the Court

7     should not accept your client's plea?

8                 MR. NAVARRO:       No, Your Honor.

9                 THE COURT:      Do you join in the waiver of jury

10    trial and concur in the plea?

11                MR. NAVARRO:       I do, Your Honor.

12                THE COURT:      Miss Restrepo, other than what's been

13    previously stated throughout this afternoon, has the

14    government made any promises, representations, or guarantees

15    either to Mr. Navarro or Mr. Salazar-Espinoza other than

16    what was stated here in court or in the plea agreement?

17                MS. RESTREPO:       No, Your Honor.

18                THE COURT:      Does the government waive jury trial?

19                MS. RESTREPO:       We do, Your Honor.

20                THE COURT:      Mr. Salazar-Espinoza, I will turn back

21    to you.    Are you satisfied with the representation of your

22    lawyer?

23                THE DEFENDANT:       Yes, Your Honor.

24                THE COURT:      Have you told your lawyer everything

25    that you know about the case?


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1                 THE DEFENDANT:       Yes.

2                 THE COURT:      Do you believe that your lawyer has

3     fully advised you concerning this case?

4                 THE DEFENDANT:       Yes.

5                 THE COURT:      Have you had enough time to discuss

6     this case with your lawyer?

7                 THE DEFENDANT:       Yes.

8                 THE COURT:      Did your lawyer or anyone else for

9     that matter tell you exactly how you should answer my

10    questions that I asked you this afternoon?

11                THE DEFENDANT:       No, Your Honor.

12                THE COURT:      Do you believe that you understand the

13    consequences to you of this plea?

14                THE DEFENDANT:       Yes.

15                THE COURT:      Do you believe that you are competent

16    to make the decision to plead guilty?

17                THE DEFENDANT:       Yes, Your Honor.

18                THE COURT:      So, sir, do you understand, then, that

19    all that's going to be left in this case if I accept the

20    plea this afternoon is the imposition of a sentence which

21    will likely include imprisonment.            Do you understand that?

22                THE DEFENDANT:       Yes.

23                THE COURT:      Having in mind all that we've

24    discussed this afternoon and the rights that you are going

25    to be giving up and the mandatory minimum sentence, do you


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1     still want to plead guilty this afternoon?

2                 THE DEFENDANT:       Yes.

3                 THE COURT:      So I am going to ask you now to listen

4     as the government outlines the facts that the government

5     believes it will be able to prove if this case went to

6     trial.

7                 You may proceed, Miss Restrepo.

8                 MS. RESTREPO:       If this case were to proceed to

9     trial, the government would be prepared to prove the

10    following facts beyond a reasonable doubt:              Defendant sold

11    drugs out of his home in Los Angeles within the

12    Central District of California.           On December 3rd, 2015, at

13    his home, defendant knowingly and intentionally possessed

14    with the intent to distribute approximately 3.84 kilograms

15    of actual methamphetamine, a Schedule 2 controlled

16    substance.     In addition to the methamphetamine, defendant

17    also knowingly and intentionally possessed with the intent

18    to distribute approximately 2.725 kilograms of a substance

19    containing heroin, 235 grams of a substance containing

20    fentanyl, and 5.63 kilograms of marijuana.              Defendant also

21    knowingly possessed the following firearm at his home on

22    December 3rd, 2015, in furtherance of that drug trafficking

23    crime, namely, possession with intent to distribute

24    methamphetamine, a Colt Government, model MKIV, Series 80,

25    .380 caliber pistol bearing serial number RS21330.


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1                 THE COURT:      All right.     Thank you.

2                 Did you understand everything that the prosecutor

3     just said?

4                 THE DEFENDANT:       Yes.

5                 THE COURT:      Is everything she said about you and

6     your conduct and your intent true and correct?

7                 THE DEFENDANT:       Yes.

8                 THE COURT:      Are you pleading guilty because you

9     did the things charged in the Indictment?

10                THE DEFENDANT:       Yes.

11                THE COURT:      Are you pleading guilty because you

12    are, in fact, guilty?

13                THE DEFENDANT:       Yes.

14                THE COURT:      All right.

15                Is the government satisfied with the factual

16    basis?

17                MS. RESTREPO:       Yes, Your Honor.

18                THE COURT:      Do counsel agree that the Court's

19    complied with the requirements of Rule 11?

20                Miss Restrepo?

21                MS. RESTREPO:       Yes, Your Honor.

22                THE COURT:      Mr. Navarro?

23                MR. NAVARRO:       Yes, Your Honor.

24                THE COURT:      Sir, in case CR 17-288, how do you

25    plead to Counts 1 and 3 to this Indictment -- I'm sorry, 1


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1     and 4 to this Indictment?         How could you plead, sir?

2                 THE DEFENDANT:       Guilty.

3                 THE COURT:      All right, sir.       I am going to make

4     certain findings.       Again, if you don't understand or if you

5     disagree with what I am about to say, please let me know or

6     ask your lawyer to let me know.

7                 In the case of United States versus Jesus Raul

8     Salazar-Espinoza, the Court having questioned the defendant

9     and his counsel on the offer of pleas of guilty to Counts 1

10    and 4 of the Indictment, both felonies, the defendant and

11    his counsel having advised the Court that they have

12    conferred concerning the offered pleas of guilty and all

13    aspects of the charges against Mr. Salazar-Espinoza and any

14    defenses he may have and the Court having observed

15    Mr. Salazar-Espinoza's intelligence, demeanor, and attitude

16    while answering the questions and the Court also having

17    observed that Mr. Salazar-Espinoza does not appear to be

18    under the influence of any medicine, drug, or other

19    substance or factor that might affect his actions or

20    judgment in any manner; so I find that he is fully competent

21    and capable of entering an informed plea, he is aware of the

22    nature of the charges and the consequences of those pleas.

23                The Court further finds the pleas of guilty are

24    knowingly, voluntarily, and intelligently made with a full

25    understanding of the nature of the charges, the consequences


                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             ER 49
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                                                                     Page         29
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1     of the plea, and Mr. Salazar-Espinoza's constitutional

2     rights.

3                 The Court further finds that the plea is supported

4     by an independent factual basis that contains each of the

5     essential elements of the offenses.

6                 So I am going to accept the plea and order the

7     plea be entered.       I am going to order that a written

8     presentence report be prepared in this case by the probation

9     department.

10                Sir, you are going to be asked to provide some

11    information for that report.          I don't know you, sir, and so

12    that information will be important to me to get a better

13    understanding of who you are, what your background was, and

14    what brought you to these circumstances.              When you are

15    interviewed for that report, your lawyer may be present if

16    you wish.

17                As I said earlier, both you and your lawyer are

18    going to have an opportunity to read the report and file any

19    objections that you believe are appropriate to the report

20    before the hearing.        At the sentencing, you will have a

21    chance to speak on your behalf as well as your lawyer.

22                So I am going to refer the matter to the probation

23    office for a presentence report.           The date for sentencing

24    that I am proposing is February 8th, 2019, at 1:30 P.M.

25                Does that date and time work for counsel?


                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             ER 50
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1                 Miss Restrepo?

2                 MR. NAVARRO:       Your Honor, if we could get a much

3     later date, I was going to suggest April 29th.

4                 THE COURT:      Let me check with the boss here for a

5     second.

6           (Brief pause in the proceedings.)

7                 THE COURT:      Can we do it on a Friday?          Are we

8     talking in May?

9                 MR. NAVARRO:       Sure.

10          (Brief pause in the proceedings.)

11                THE COURT:      All right.     We could do it May 3rd at

12    1:30 P.M.

13                Sir, you are ordered to appear on that date and

14    time without any further notice, order, or subpoena.                 We're

15    going to vacate the jury trial date, and I am going to order

16    that a presentence report be prepared.

17                Is there anything further from the government?

18                MS. RESTREPO:       One thing, Your Honor, and I

19    apologize if I missed it.         I ask the Court incorporate the

20    plea into the proceedings today.

21                THE COURT:      To the extent I haven't incorporated

22    the plea, the plea agreement will be incorporated into these

23    proceedings.

24                MS. RESTREPO:       Thank you, Your Honor.

25                THE COURT:      Anything further, Mr. Navarro?


                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1                 MR. NAVARRO:       I do have one issue.        My client is

2     diabetic, and he is having some very serious problems with

3     his legs which appear not to have been addressed while he

4     has been in custody at MDC.          I can file a separate

5     application if you want me to, or I would ask simply for the

6     Court to issue an order for my client to get treatment for

7     his diabetes.

8                 THE COURT:      I'm sorry.     Could you just briefly

9     outline sort of what -- how are the conditions manifesting

10    themselves?

11                MR. NAVARRO:       Your Honor, my client gets massive

12    swelling in his legs, and he's got bruising on both of his

13    legs which I think it's a by-product of his diabetes.

14                THE COURT:      Sir, have you been seen by a doctor at

15    MDC?

16                THE DEFENDANT:       It's been four months now since I

17    have been seen.

18                MR. NAVARRO:       He also has bruises on his back.

19                THE COURT:      You don't need to show them to me, not

20    that I doubt what you are saying, I just want to make sure I

21    understand.

22                You said it's been four months since you have been

23    last seen.

24                THE DEFENDANT:       Yes.

25                THE COURT:      Were you given any medication when you


                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1     were seen four months ago?

2                 THE DEFENDANT:       I was given some pills so that the

3     bruising would go away, but it hasn't been given to me

4     again.

5                 THE COURT:      Did the pills help at first, or they

6     didn't help at all?

7                 THE DEFENDANT:       Yes, they did.

8                 THE COURT:      All right.     Sir, what I'm going to do

9     is I am going to make a recommendation that you be seen as

10    soon as possible so they can address the diabetic condition

11    or give you an examination.

12                At this stage, I can't order them to see you, but

13    I like to believe that a recommendation from the Court, when

14    it's in an order, the minute order of this case, will help

15    you get to a doctor sooner than later.

16                I am going to ask, Mr. Navarro, if that doesn't

17    rectify things to let the Court know via my courtroom

18    deputy.    Or if you feel the need to file something, let the

19    Court know, and I will take the next step to try to get this

20    addressed.

21                Does that work for you, Mr. Navarro?

22                MR. NAVARRO:       It does.

23                THE COURT:      All right.     Let's see if we can get

24    you to the doctor sooner rather than later so we can treat

25    this condition.      All right, sir?


                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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1                 THE DEFENDANT:       All right.

2                 THE COURT:      If there is nothing further, I'll see

3     you for sentencing next year.           All right.     Thank you.

4                 MS. RESTREPO:       Thank you, Your Honor.

5                 MR. NAVARRO:       Thank you.

6           (Proceedings concluded at 2:29 p.m.)

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                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             ER 54
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1                                    CERTIFICATE

2

3             I hereby certify that pursuant to Section 753,

4     Title 28, United States Code, the foregoing is a true and

5     correct transcript of the stenographically reported

6     proceedings held in the above-entitled matter and that the

7     transcript page format is in conformance with the

8     regulations of the Judicial Conference of the United States.

9

10    Date:     May 2, 2020.

11

12

13

14                                /S/ CHIA MEI JUI _______

15                             Chia Mei Jui, CSR No. 3287

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                    CHIA MEI JUI, CSR 3287, CRR, FCRR
      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                             ER 55
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                                                                            1 of    49 of ID
                                                                                 1 Page   126#:143
LAUREN RESTREPO (Cal. Bar No. 319873)
Assistant United States Attorney,
General Crimes Section
312 N. Spring Street, 12th, Fl., L.A., CA 90012



                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                        CASE NUMBER:

                                                                                CR 17-288-AB
                                                  PLAINTIFF(S)
                    v.
JESUS RAUL SALAZAR-ESPINOZA                                              NOTICE OF MANUAL FILING
                                                                               OR LODGING
                                             DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed          Lodged : (List Documents)
GOVERNMENT'S EX PARTE APPLICATION AND [PROPOSED] ORDER FOR AN ORDER SEALING
DOCUMENT [FILED UNDER SEAL]; GOVERNMENT'S UNDER SEAL DOCUMENT [FILED UNDER
SEAL] (WITH SERVICE ON PARTIES).




Reason:
 ✔        Under Seal
          In Camera
          Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
          Per Court order dated:
          Other:




November 1, 2018                                                  LAUREN RESTREPO
Date                                                              Attorney Name
                                                                  UNITED STATES OF AMERICA, PLAINTIFF
                                                                  Party Represented


Note: File one Notice of Manual Filing or Lodging in each case, each time you manually submit a document(s).
G-92 (05/15)                               NOTICE OF MANUAL FILING OR LODGING
                                                                                                 ER 56
        Case:
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8                         IN THE UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
      United States of America,                     Case No. CR 17-00288-AB
11
             Plaintiff,
12                                                  [PROPOSED] ORDER
             vs.                                    RE: PREPARATION OF PRE-PLEA
13
                                                    PROBATION REPORT
      Jesus Raul Salazar-Espinoza,
14

15
             Defendant.
16

17

18          Good cause having been shown by the defendant’s unopposed ex parte
19
     application, IT IS HEREBY ORDERED that the United States Probation Office
20
     prepare a pre-plea probation report with respect to defendant Jesus Raul Salazar-
21

22   Espinoza’s criminal history only.
23

24

25   Dated: October 03, 2017                        ________________________________
                                                    Hon. André Birotte Jr.
26          CC: USPO                                United States District Judge
27

28
                                                 ORDER
                             RE: PREPARATION OF PRE-PLEA PROBATION REPORT



                                                                                 ER 57
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                                                                         Page  ID #:92



 1   Angel Navarro (SBN) 155702
     LAW OFFICE OF ANGEL NAVARRO
 2
     The Petroleum Building
 3   714 W. Olympic Blvd., Suite 450
     Los Angeles, CA 90015
 4   Tel.: (626) 390-6621
 5   Fax: (213) 746-4435
     e-mail: angel_navarro@me.com
 6   Attorney for Defendant
 7   Jesus Raul Salazar-Espinoza

 8                          IN THE UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
      United States of America,                          Case No. CR 17-00288-AB
11
             Plaintiff,
12                                                       UNOPPOSED EX PARTE
             vs.                                         APPLICATION REQUESTING COURT
13
                                                         ORDER FOR PREPARATION OF PRE-
      Jesus Raul Salazar-Espinoza,
14                                                       PLEA PROBATION REPORT
15
             Defendant.
16

17

18          Defendant, Jesus Raul Salazar-Espinoza, by and through his counsel of record,
19
     Angel Navarro, hereby files with this Court, this unopposed ex parte application
20
     seeking a court order for the preparation of a pre-plea probation report.                         This
21

22   application is being based on the attached declaration of counsel.
23
                                                 Respectfully submitted,
24

25

26   October 2, 2017                               /S/ Angel Navarro
27
     DATE                                        ANGEL NAVARRO
                                                 Attorney for Defendant
28                                               Jesus Raul Salazar-Espinoza

            EX PARTE APPLICATION REQUESTING COURT ORDER FOR PREPARATION OF PRE-PLEA PROBATION REPORT

                                                                                             ER 58
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 1                                 DECLARATION OF ANGEL NAVARRO
 2
             1.    I am CJA counsel appointed to represent defendant Jesus Raul Salazar-
 3
      Espinoza. I would like to request a court order for the preparation of a pre-plea probation
 4

 5    report. Mr. Salazar-Espinoza has been charged with serious narcotics offenses. In order to

 6    ascertain Mr. Salazar-Espinoza’s criminal history and possible sentencing exposure, I would
 7
      like to obtain a pre-plea probation report.
 8

 9
             2.    I have communicated with Assistant United States Attorney William Rollins

10    with respect to this application. Mr. Rollins has indicated that the government does not
11
      oppose my request for a pre-plea probation report.
12

13

14          I declare that the foregoing is true and correct under penalty of perjury.
15

16
     October 2, 2017                                /S/ Angel Navarro
17
     DATE                                         ANGEL NAVARRO
18                                                Attorney for Defendant
                                                  Jesus Raul Salazar-Espinoza
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             EX PARTE APPLICATION REQUESTING COURT ORDER FOR PREPARATION OF PRE-PLEA PROBATION REPORT

                                                                                              ER 59
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                         CRIMINAL MINUTES - GENERAL


 Case No.         CR 17-00288-AB                                                              Date    August 28, 2017
 Present: The Honorable             ANDRÉ BIROTTE JR., United States District Judge
 Spanish Interpreter:             Sharon Spence
                 Carla Badirian                        Chia Mei Jui                              William Rollins
                  Deputy Clerk                        Court Reporter                          Assistant U.S. Attorney


       U.S.A. v. Defendant(s):            Present     Cust.   Bond      Attorneys for Defendants: Present App. Ret.

Jose Raul Salazar-Espinoza                   √          √              DFPD, Kim Savo                        √       √
  Proceedings:         STATUS CONFERENCE (Held and Completed)

       Defendant and counsel present.             Also present is Stephen Frye, CJA counsel specially appearing for
Angel Navarro, CJA counsel.

       The Court is advised that defendant requests that new counsel be appointed.          A sealed hearing was
held. The transcript to this portion of the proceeding is ordered sealed unless otherwise ordered by the Court.

         The Court GRANTS the request.

      The Court relieves the Federal Public Defender of representing the defendant and appoints Angel
Navarro, CJA counsel for defendant Jose Raul Salazar-Espinoza. Mr. Navarro can be reached at (626) 390-
6621.

         The trial remains set for Tuesday, October 10, 2017 at 8:30 a.m.

         IT IS SO ORDERED.


CC: CJA, Angel Navarro, Court Reporter Chia Mei Jui

                                                                                                       00    :      25

                                                                   Initials of Deputy Clerk     CB




                                                                                                                 ER 60
CR-11 (09/98)                                     CRIMINAL MINUTES - GENERAL                                             Page 1 of 1
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 8                             UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               February 2017 Grand Jury

11   UNITED STATES OF AMERICA,                    CR No. 17-288-AB

12              Plaintiff,                        I N D I C T M E N T

13              v.                                [21 U.S.C. §§ 841(a)(1),
                                                  (b)(1)(A)(viii): Possession with
14   JESUS RAUL SALAZAR-ESPINOZA,                 Intent to Distribute
       aka “Pedro,”                               Methamphetamine; 21 U.S.C.
15     aka “Jesus Salazar                         §§ 841(a)(1), (b)(1)(A)(i):
            Cervantes,”                           Possession with Intent to
16     aka “Gabriel Pinosa Salazar,”              Distribute Heroin; 21 U.S.C.
                                                  §§ 841(a)(1), (b)(1)(C):
17              Defendant.                        Possession with Intent to
                                                  Distribute Fentanyl; 18 U.S.C.
18                                                § 924(c)(1)(A)(i): Possession of a
                                                  Firearm in Furtherance of a Drug
19                                                Trafficking Crime; 18 U.S.C.
                                                  § 922(g)(1): Felon in Possession
20                                                of a Firearm and Ammunition]
21

22        The Grand Jury charges:
23                                         COUNT ONE
24                    [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]
25        On or about December 3, 2015, in Los Angeles County, within the
26   Central District of California, defendant JESUS RAUL SALAZAR-
27   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar
28   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly and intentionally


                                                                                  ER 61
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 1   possessed with intent to distribute at least 500 grams, that is,

 2   approximately 3.919 kilograms, of a mixture and substance containing

 3   a detectable amount of methamphetamine, a Schedule II controlled

 4   substance.

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         Case:
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 1                                         COUNT TWO

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(i)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly and intentionally

 7   possessed with intent to distribute at least one kilogram, that is,

 8   approximately 2.717 kilograms, of a mixture and substance containing

 9   a detectable amount of heroin, a Schedule I controlled substance.

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 1                                        COUNT THREE

 2                        [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly and intentionally

 7   possessed with intent to distribute a mixture and substance

 8   containing a detectable amount of fentanyl, a Schedule II controlled

 9   substance.

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                                                                          Page  ID #:75



 1                                        COUNT FOUR

 2                            [18 U.S.C. § 924(c)(1)(A)(i)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly possessed a

 7   firearm, namely, a Colt Government, model MKIV series 80, .380

 8   caliber pistol, bearing serial number RS21330, in furtherance of a

 9   drug trafficking crime, namely, possession with intent to distribute

10   methamphetamine, in violation of Title 21, United States Code,

11   Sections 841(a)(1), (b)(1)(A)(viii), as charged in Count One of this

12   Indictment, possession with intent to distribute heroin, in violation

13   of Title 21, United States Code, Sections 841(a)(1), (b)(1)(A)(i), as

14   charged in Count Two of this Indictment, and possession with intent

15   to distribute fentanyl, in violation of Title 21, United States Code,

16   Sections 841(a)(1), (b)(1)(C), as charged in Count Three of this

17   Indictment.

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                                                                                  ER 65
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 1                                        COUNT FIVE

 2                                [18 U.S.C. § 922(g)(1)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly possessed a

 7   firearm, namely, a Colt Government, model MKIV series 80, .380

 8   caliber pistol, bearing serial number RS21330, and ammunition,

 9   namely, approximately 11 rounds of Fiocchi .380 caliber ammunition

10   and 14 rounds of Poonsan Corporation .380 caliber ammunition, in and

11   affecting interstate and foreign commerce.

12        Such possession occurred after defendant SALAZAR had been

13   convicted of at least one of the following felony crimes, each

14   punishable by a term of imprisonment exceeding one year:

15        (1) Sale of a Controlled Substance, in violation of California

16   Health and Safety Code Section 11379(a), in the Superior Court of the

17   State of California, County of Los Angeles, in case number TA111422,

18   on or about March 24, 2010;

19        (2) Possession of a Controlled Substance, in violation of

20   California Health and Safety Code Section 11350(a), in the Superior

21   Court of the State of California, County of Los Angeles, in case

22   number A038499, on or about May 8, 1989; and

23   //

24   //

25   //

26   //

27   //

28   //

                                                6
                                                                                  ER 66
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 1        (3) Possession of a Controlled Substance, in violation of

 2   California Health and Safety Code Section 11350(a), in the Superior

 3   Court of the State of California, County of Los Angeles, in case

 4   number A043181, on or about April 17, 1989.

 5

 6

 7                                                  A TRUE BILL
 8

 9
                                                    Foreperson
10

11   SANDRA R. BROWN
     Acting United States Attorney
12
     LAWRENCE S. MIDDLETON
13   Assistant United States Attorney
     Chief, Criminal Division
14

15

16
     LIZABETH A. RHODES
17   Assistant United States Attorney
     Chief, General Crimes Section
18
     ROBYN K. BACON
19   Assistant United States Attorney
     Deputy Chief, General Crimes
20   Section
21   WILLIAM M. ROLLINS
     Assistant United States Attorney
22   General Crimes Section
23

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                                                                                  ER 67
         Case:
      Case     19-50377, 11/25/2020,
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                                                                          Page  ID #:66



 1   SANDRA R. BROWN
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 2   LAWRENCE S. MIDDLETON
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 7        Facsimile: (213) 894-0141
          E-mail:    william.rollins@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                    No. CR 17-288-AB

13              Plaintiff,
                                                  [PROPOSED] ORDER GRANTING THE
14                    v.                          GOVERNMENT’S UNOPPOSED MOTION TO
                                                  AMEND THE INDICTMENT
15   GABRIEL PINOSA SALAZAR,
       aka “Pedro,”
16     aka “Jesus Salazar
            Cervantes,”
17     aka “Jesus Raul Salazar-
            Espinoza,”
18
                Defendant.
19

20        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the
21   indictment is amended to list “JESUS RAUL SALAZAR-ESPINOZA” as the
22   primary name for defendant in this case.             Exhibit B to the
23   government’s unopposed motion to amend shall be the operative
24   indictment in this case, and the parties shall amend the case caption
25   accordingly in all future filings.
26   //
27   //
28   //


                                                                                  ER 68
         Case:
      Case     19-50377, 11/25/2020,
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                                                                          Page  ID #:67



 1        The Clerk is directed to file an Amended Indictment to reflect

 2   the foregoing.

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 6   Dated: June 16, 2017                  ___________________________________
                                           HONORABLE ANDRÉ BIROTTE JR.
 7                                         UNITED STATES DISTRICT JUDGE
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     CC: PSA
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 1   SANDRA R. BROWN
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 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                     No. CR 17-288-AB

13               Plaintiff,                        GOVERNMENT’S UNOPPOSED MOTION TO
                                                   AMEND THE INDICTMENT; DECLARATION
14                     v.                          OF WILLIAM M. ROLLINS AND EXHIBITS
                                                   THERETO; PROPOSED ORDER
15   GABRIEL PINOSA SALAZAR,
       aka “Pedro,”
16     aka “Jesus Salazar
            Cervantes,”
17     aka “Jesus Raul Salazar-
            Espinoza,”
18
                 Defendant.
19

20

21         Plaintiff United States of America, by and through its counsel
22   of record, the Acting United States Attorney for the Central District
23   of California and Assistant United States Attorney William M.
24   Rollins, hereby submits this motion to amend the Indictment to
25   conform to the name provided by defendant JESUS RAUL SALAZAR-ESPINOZA
26   (“defendant”) during his initial appearance in this case.
27   Specifically, the government requests that the Indictment be amended
28   to list “JESUS RAUL SALAZAR-ESPINOZA” – instead of “GABRIEL PINOSA


                                                                                    ER 70
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 1   SALAZAR” as the primary name for defendant in the case caption, and

 2   that “Garbiel Pinosa Salazar” be listed instead as an “aka” for

 3   defendant.     Defendant, by and through his attorney of record, Deputy

 4   Federal Public Defender Kim Savo, does not oppose this motion to

 5   amend.

 6         The government’s motion is based upon the attached memorandum of

 7   points and authorities, the attached Declaration of William M.

 8   Rollins and exhibits thereto, the files and records in this case, and

 9   such further evidence and argument as the Court may permit.

10   Dated: June 12, 2017                      Respectfully submitted,

11                                             SANDRA R. BROWN
                                               Acting United States Attorney
12
                                               LAWRENCE S. MIDDLETON
13                                             Assistant United States Attorney
                                               Chief, Criminal Division
14

15                                                   /s/
                                               WILLIAM M. ROLLINS
16                                             Assistant United States Attorney

17                                             Attorneys for Plaintiff
                                               UNITED STATES OF AMERICA
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant JESUS RAUL SALAZAR-ESPINOZA (“defendant”) is charged

 4   in the Indictment in this case with violating 21 U.S.C. §§ 841(a)(1):

 5   Possession with Intent to Distribute a Controlled Substance; 18

 6   U.S.C. § 924(c): Possession of Firearm in Furtherance of Drug

 7   Trafficking; and 18 U.S.C. § 922(g)(1): Felon in Possession of

 8   Firearm and Ammunition.         The charges arise out of the execution of a

 9   federal search warrant at defendant’s home in December of 2015.

10   During that search, agents found the following items in defendant’s

11   bedroom:    a Colt .380 caliber pistol with 4 magazines containing a

12   total of 25 rounds of .380 caliber ammunition; approximately 3.84

13   kilograms of actual methamphetamine; approximately 2.717 kilograms of

14   heroin, 235 grams of fentanyl; and approximately 5.63 kilograms of

15   marijuana.

16         In its current form, the Indictment names defendant as “GABRIEL

17   PINOSA SALAZAR” and lists “Jesus Raul Salazar-Espinoza” as an “aka”

18   for defendant. (Declaration of William M. Rollins (“Rollins Decl.”),

19   Ex. A.)    During his initial appearance, however, defendant admitted

20   his true name as “Jesus Raul Salazar-Espinoza,” and the magistrate

21   judge indicated that “[t]here may be an amendment needed to the

22   charging document.”        (Dkt. 9.)

23         Through this motion to amend, the government respectfully

24   requests that the Court modify the case caption for the Indictment to

25   list “Jesus Raul Salazar-Espinoza” as the primary name for defendant

26   in this case.      (Rollins Decl., Ex. B.)          Defendant will not be

27   prejudiced by the amendment because his true name was already listed

28   as an “aka” on the Indictment, and the amendment merely corrects the


                                                                                    ER 72
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                                                                            Page  ID #:36



 1   primary caption to reflect defendant’s preferred and true name.

 2   Defendant does not oppose this motion to amend.

 3   II.   ARGUMENT
 4         Although material or substantial amendments to an indictment are

 5   not permitted without resubmission of the indictment to the grand

 6   jury, district courts may make amendments “concerning matters of

 7   form.”    Russell v. United States, 369 U.S. 749, 770 (1962); see,

 8   e.g., United States v. Neil, 166 F.3d 943, 947–948 (9th Cir. 1999)

 9   (district court did not err in granting a motion to amend the

10   indictment, during jury deliberations, where one bank robbery count

11   referred to the wrong bank); United States v. Lim, 984 F.2d 331, 337

12   (9th Cir. 1993) (district court did not err in amending typographical

13   error in statute citation).          “An amendment of form and not of

14   substance occurs when the defendant is not misled in any sense, is

15   not subjected to any added burden, and is not otherwise prejudiced.”

16   United States v. Kegler, 724 F.2d 190, 194 (D.C. Cir. 1983) (citing

17   Williams v. United States, 179 F.2d 656, 659 (5th Cir. 1950)).

18         Amending an indictment to conform it to the defendant’s

19   preferred name is proper as long as the offense charged is not

20   changed and the rights of the defendant are not prejudiced.                     See,

21   e.g., United States v. Perez, 776 F.2d 797, 799 (9th Cir. 1985)

22   (permitting the indictment which originally named “Gregorio C. Perez

23   Jr. aka Junior Perez,” to be changed by amendment to “Junior Cruz

24   Perez”), overruled on other grounds by United States v. Cabaccang,

25   332 F.3d 622, 634 (9th Cir. 2003).

26         Here, the Indictment lists “Gabriel Pinosa Salazar” as the

27   primary name for defendant, and then provides several “aka” names,

28   including “Jesus Raul Salazar-Espinoza,” underneath that primary

                                                 2
                                                                                    ER 73
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 1   name.    During the initial appearance before the magistrate judge on

 2   June 2, 2017, however, defendant admitted his true name as “Jesus

 3   Raul Salazar-Espinoza.”         (Dkt. 9.)       Thus, the Indictment should be

 4   amended to list “Jesus Raul Salazar-Espinoza” as defendant’s primary

 5   name, followed by “Gabriel Pinosa Salazar” as an “aka.”                   The

 6   amendment goes to form, rather than substance, because defendant has

 7   not been misled, would not be subjected to any added burden, and

 8   would not be otherwise prejudiced.              Defendant has not been misled –

 9   and he would not be prejudiced by the proposed amendment – because

10   his “aka” was already listed on the existing indictment; he was

11   therefore aware that the government believed he was known by the name

12   “Jesus Raul Salazar-Espinoza.”           And because the amendment merely

13   modifies the caption to reflect the primary and true name provided by

14   defendant during his initial appearance approximately 10 days ago, he

15   is not burdened by the government’s proposed amendment.

16   III. CONCLUSION
17           For the reasons stated above, the government respectfully

18   requests that the Court amend the Indictment to list “JESUS RAUL

19   SALAZAR-ESPINOZA” as defendant’s primary name in the case caption,

20   and identify “Gabriel Pinosa Salazar” as an “aka.”

21   Dated: June 12, 2017                      Respectfully submitted,

22                                             SANDRA R. BROWN
                                               Acting United States Attorney
23
                                               LAWRENCE S. MIDDLETON
24                                             Assistant United States Attorney
                                               Chief, Criminal Division
25

26                                                   /s/
                                               WILLIAM M. ROLLINS
27                                             Assistant United States Attorney
                                               Attorneys for the UNITED STATES
28

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                                                                                     ER 74
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 1                             Declaration of William M. Rollins

 2         I, William M. Rollins, hereby state and declare as follows:

 3         1.    I am an Assistant United States Attorney (“AUSA”) for the

 4   Central District of California assigned to handle the case of United

 5   States v. Jesus Raul Salazar-Espinoza (“defendant”), CR 17-288-AB.

 6         2.    Attached hereto as Exhibit A is a true and correct copy of
 7   the indictment filed in this case on May 16, 2017.

 8         3.    At the initial appearance held in this case on June 2,

 9   2017, the Court’s Minute Order reflects that defendant admitted his

10   true name as “Jesus Raul Salazar-Espinoza.”                (Dkt. 9.)

11         4.    Attached hereto as Exhibit B is a copy of the government’s
12   proposed amended indictment.

13         5.    Executed in Los Angeles County, California this 10th day of

14   June, 2017.

15                                           _____/s/ William M. Rollins______
                                             WILLIAM M. ROLLINS
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                             EXHIBIT A


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                                                                              ER 77
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                                                                              ER 78
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                                                                           ER 79
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                                                                           ER 81
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                            EXHIBIT B


                                                                           ER 84
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 8                            UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                               February 2017 Grand Jury

11   UNITED STATES OF AMERICA,                   CR No. 17-288-AB

12              Plaintiff,                       I N D I C T M E N T

13              v.                               [21 U.S.C. §§ 841(a)(1),
                                                 (b)(1)(A)(viii): Possession with
14   JESUS RAUL SALAZAR-ESPINOZA,                Intent to Distribute
       aka “Pedro,”                              Methamphetamine; 21 U.S.C.
15     aka “Jesus Salazar                        §§ 841(a)(1), (b)(1)(A)(i):
            Cervantes,”                          Possession with Intent to
16     aka “Gabriel Pinosa Salazar,”             Distribute Heroin; 21 U.S.C.
                                                 §§ 841(a)(1), (b)(1)(C):
17              Defendant.                       Possession with Intent to
                                                 Distribute Fentanyl; 18 U.S.C.
18                                               § 924(c)(1)(A)(i): Possession of a
                                                 Firearm in Furtherance of a Drug
19                                               Trafficking Crime; 18 U.S.C.
                                                 § 922(g)(1): Felon in Possession
20                                               of a Firearm and Ammunition]

21

22        The Grand Jury charges:
23                                        COUNT ONE
24                    [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]
25        On or about December 3, 2015, in Los Angeles County, within the
26   Central District of California, defendant JESUS RAUL SALAZAR-
27   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar
28   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly and intentionally


                                                                                ER 85
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 1   possessed with intent to distribute at least 500 grams, that is,

 2   approximately 3.919 kilograms, of a mixture and substance containing

 3   a detectable amount of methamphetamine, a Schedule II controlled

 4   substance.

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     CaseCase: 19-50377, 11/25/2020,
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 1                                        COUNT TWO

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(i)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly and intentionally

 7   possessed with intent to distribute at least one kilogram, that is,

 8   approximately 2.717 kilograms, of a mixture and substance containing

 9   a detectable amount of heroin, a Schedule I controlled substance.

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     CaseCase: 19-50377, 11/25/2020,
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 1                                       COUNT THREE

 2                        [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly and intentionally

 7   possessed with intent to distribute a mixture and substance

 8   containing a detectable amount of fentanyl, a Schedule II controlled

 9   substance.

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     CaseCase: 19-50377, 11/25/2020,
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 1                                       COUNT FOUR

 2                           [18 U.S.C. § 924(c)(1)(A)(i)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly possessed a

 7   firearm, namely, a Colt Government, model MKIV series 80, .380

 8   caliber pistol, bearing serial number RS21330, in furtherance of a

 9   drug trafficking crime, namely, possession with intent to distribute

10   methamphetamine, in violation of Title 21, United States Code,

11   Sections 841(a)(1), (b)(1)(A)(viii), as charged in Count One of this

12   Indictment, possession with intent to distribute heroin, in violation

13   of Title 21, United States Code, Sections 841(a)(1), (b)(1)(A)(i), as

14   charged in Count Two of this Indictment, and possession with intent

15   to distribute fentanyl, in violation of Title 21, United States Code,

16   Sections 841(a)(1), (b)(1)(C), as charged in Count Three of this

17   Indictment.

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 1                                       COUNT FIVE

 2                               [18 U.S.C. § 922(g)(1)]

 3        On or about December 3, 2015, in Los Angeles County, within the

 4   Central District of California, defendant JESUS RAUL SALAZAR-

 5   ESPINOZA, also known as (“aka”) “Pedro,” aka “Jesus Salazar

 6   Cervantes,” aka “Gabriel Pinosa Salazar,” knowingly possessed a

 7   firearm, namely, a Colt Government, model MKIV series 80, .380

 8   caliber pistol, bearing serial number RS21330, and ammunition,

 9   namely, approximately 11 rounds of Fiocchi .380 caliber ammunition

10   and 14 rounds of Poonsan Corporation .380 caliber ammunition, in and

11   affecting interstate and foreign commerce.

12        Such possession occurred after defendant SALAZAR had been

13   convicted of at least one of the following felony crimes, each

14   punishable by a term of imprisonment exceeding one year:

15        (1) Sale of a Controlled Substance, in violation of California

16   Health and Safety Code Section 11379(a), in the Superior Court of the

17   State of California, County of Los Angeles, in case number TA111422,

18   on or about March 24, 2010;

19        (2) Possession of a Controlled Substance, in violation of

20   California Health and Safety Code Section 11350(a), in the Superior

21   Court of the State of California, County of Los Angeles, in case

22   number A038499, on or about May 8, 1989; and

23   //

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                                                                                ER 90
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 1        (3) Possession of a Controlled Substance, in violation of

 2   California Health and Safety Code Section 11350(a), in the Superior

 3   Court of the State of California, County of Los Angeles, in case

 4   number A043181, on or about April 17, 1989.

 5

 6

 7                                                 A TRUE BILL
 8

 9
                                                   Foreperson
10

11   SANDRA R. BROWN
     Acting United States Attorney
12
     LAWRENCE S. MIDDLETON
13   Assistant United States Attorney
     Chief, Criminal Division
14

15

16
     LIZABETH A. RHODES
17   Assistant United States Attorney
     Chief, General Crimes Section
18
     ROBYN K. BACON
19   Assistant United States Attorney
     Deputy Chief, General Crimes
20   Section
21   WILLIAM M. ROLLINS
     Assistant United States Attorney
22   General Crimes Section
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                                                                                ER 91
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                      Case:
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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                           CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:17-CR-00288                              Recorder: CS 06/02/2017                                Date: 06/02/2017

Present: The Honorable Jacqueline Chooljian, U.S. Magistrate Judge

Court Clerk: Hana Rashad                                               Assistant U.S. Attorney: Sarah Lee

United States of America v.               Attorney Present for Defendant(s)                 Language                  Interpreter
GABRIEL PINOSA SALAZAR, aka KIM SAVO                                                        SPANISH                   F. JAVIER
Pedro, aka Jesus Salazar Cervantes, aka DFPD                                                                          VILLALOBOS
Jesus Raul Salazar-Espinoza
       CUSTODY-PRESENT



PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Defendant is arraigned and states true name is Jesus Raul Salazar-Espinoza.

Defendant is given a copy of the Indictment.

Defendant acknowledges receipt of a copy and waives reading thereof.

Defendant pleads not guilty to all counts in the Indictment.

This case is assigned to the calendar of District Judge Andre Birotte Jr..
It is ordered that the following date(s) and time(s) are set:
         Jury Trial 07/25/2017 at 8:30 AM
         Status Conference 06/19/2017 at 1:30 PM
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.

        Counsel are referred to the assigned judge's trial/discovery order located on the Court's website, Judges' Procedures and Schedules.

        Trial estimate: 3 days.




                                                                                           First Appearance/Appointment of Counsel: 00 : 00
                                                                                                                                  PIA: 00 : 01
                                                                                                        Initials of Deputy Clerk: HR by TRB
cc: Statistics Clerk, PSALA Interpreter, USMLA




   CR-85 (09/12)                                      CRIMINAL MINUTES - ARRAIGNMENT                                                Page 1 of 1




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 8                                      UNITED STATES DISTRICT COURT

 9                                  CENTRAL DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,                   )    Case No.   Z      1~ ~ GAL. - Z.~S~

11                         Plaintiff,             )   ORDER OF PRETRIAL DETENTION
                                                              AFTER HEARING
12                 v.                             )        (18 U.S.C. § 3142(1))

13
      ~~f, ~        1 I IM10 S t~   JG~~a't.cf~
14                         Defendant.

15
                                                      I.
16
            A.     (f/) Upon motion of the Government in a case that involves:
17
                           1.       (    ) a crime of violence or an offense listed in
18
                                           18 U.S.C. § 2332b(g)(5)(B), for which a
19
                                           maximum term of imprisonment of ten (10)
20
                                            years or more is prescribed; or
21
                           2.       (    ) an offense for which the maximum sentence is
22
                                           life imprisonment or death; or
23
                           3.       ( ~n offense for which a maximum term of
24
                                           imprisonment of ten (10) years or more is
25
                                           prescribed in the Controlled Substances Act,
26
                                           Controlled Substances Import and Export Act
27.
                                           or Maritime Drug Law Enforcement Act; or
28




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 1                      4.    (    ) any felony if defendant has been convicted of

 2                                   two or more offenses described in

 3                                   subparagraphs 1-3 above, or two or more state

 4                                   or local offenses that would have been

 5                                   offenses described in subparagraphs 1-3 above

 6                                   if a circumstance giving rise to federal

 7                                   jurisdiction had existed, or a combination of

 8                                   such offenses.

 9                      5.    (    ) any felony that is not otherwise a crime of

10                                   violence that involves a minor victim, or

11                                   possession or use of a firearm or destructive

12                                   device or any other dangerous weapon, or a

13                                   failure to register under 18 U.S.C. § 2250.

14         B.     Upon motion ( ~ of by the Government (            ) of the Court sua

15                sponte, in a case that involves:

16                      1.    ( ~a serious risk that defendant will flee;

17                      2.    (    ) a serious risk that defendant will

18                            a.     (    ) obstruct or attempt to obstruct justice;

19                                   or

20                            b.     (    ) threaten, injure, or intimidate a

21                                          prospective witness or juror or attempt

22                                          to do so.

23         C.     The Government (~is ( ) is not entitled to a rebuttable

24   presumption that no condition or combination of conditions will

25   reasonably assure defendant's appearance as required and the safety of

26   any person or the community.

27

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                                                F


                                                                                 ER 94
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 1                                            II.

 2         A.    (~)          The Court finds by a preponderance of the evidence

 3                            that no condition or combination of conditions

 4                            will reasonably assure the appearance of defendant

 5                            as required;

 6         B.    (   )        The Court finds by clear and convincing evidence

 7                            that no condition or combination of conditions

 8                            will reasonably assure the safety of any other

 9                            person and the community.

10

11                                            III.

12         The Court has considered:

13         A.    ( '~'~ the nature and circumstances of the offense (s) charged;

14         B.    ( "~ the weight of the evidence against defendant;

15         C.    ( ~ the history and characteristics of defendant;

16         D.    ( ~ the nature and seriousness of the danger to any person

17                       or the community that would be posed by defendant's

18                       release;

19         E.    (   ) the Pretrial Services Report/Recommendation;

20         F.    ( ~" the evidence proffered/presented at the hearing;

21         G.    ( "~ the arguments of counsel.

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28

                                                3


                                                                                 ER 95
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 1                                            IV.

 2         The Court concludes:

 3         A.    (   ) Defendant poses a risk to the safety of other persons

 4                      and the community based on:

 5

 6

 7

 8         B.    (   ) Defendant poses a serious flight risk based on:

 9

10

11

12         C.    (   ) A serious risk exists that defendant will:

13                      1.    (   ) obstruct or attempt to obstruct justice;

14                      2.    (   ) threaten, injure or intimidate a prospective

15                                  witness or juror or attempt to do so;

16               based on:

17

18

19

20         D.    (   ) Defendant has not rebutted by sufficient evidence to

21                      the contrary the presumption provided in 18 U.S.C.

22                      § 3142(e) that no condition or combination of

23                      conditions will reasonably assure the safety of any

24                      other person and the community;

25               and/or

26

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                                                                                 ER 96
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 1                (   ) Defendant has not rebutted by sufficient evidence to

 2                      the contrary the presumption provided in 18 U.S.C.

 3                      § 3142(e) that no condition or combination of

 4                      conditions will reasonably assure the appearance of

 5                      defendant as required.

 6         IT IS ORDERED that defendant be detained prior to trial.

 7         IT IS FURTHER ORDERED that defendant be committed to the custody

 8   of the Attorney General for confinement to a corrections facility

 9   separate, to the extent practicable, from persons awaiting or serving

10   sentences or persons held in custody pending appeal.

11         IT IS FURTHER ORDERED that defendant be afforded reasonable

12   opportunity for private consultation with defendant's counsel.

13         IT IS FURTHER ORDERED that, on Order of a Court of the United

14   States or on request of an attorney for the Government, the person in

15   charge of the corrections facility in which defendant is confined

16   deliver defendant to a United States Marshal for the purpose of an

17   appearance in connection with a court proceeding.

18         DATED:          (Q I ~.~ (~--

19

20
                                                     RABLE JACQU   NE CHOOLJIAN
21                                              U   ted States Magistrate Judge

22

23

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         \y
                                                                       UNITED STATES DISTRICT COURT
                                                                      CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                                  ~ ~~'cstcrn Division
                                                                                Plaintiff, ~
                                           YS.
                                                                                            ~ Case Number ~~ 17-CR-00'38-UA-I               71R116lSS1QR1
                                                                                            ~ Initial App. Date: 06/02/2017                 ~- usioa~~
Gahricl Pinola Salazar                                                                      ~ Initial App. Time: 2:110 PN1




                                                                              Defendant. ~ Date Filed: Q~/16/2017
                                                                                         ~ Violation: ~l_841~I).,(bl(I)(A)(~~iii),
                                                                                         ~ 21.841(a)(I ).(b)(I~A)(i).21.8d1(a)(~),1h1

                                                                                            ~~
                                                                                             ~'o~u   ~~~Pporter                                                         ~~

          YKVI:N.CU11Vl;J t1~LU tSN.NVKN. IIIVI l N.0 JIAI~J                                                      (:A L~I~IUAWYKUC,'N;N:UIPI(;J ~H'N;~
                MAGISTRATE JUDGE: Jacquclinc Chooljian                                                              LOCAL/OUT-OF-DISTRICT CASE




         PRESENT:                           Rashad_ 1 I.~nzi                                                                                     Spanish

                                            DepuryClerk                                    Assistant U.S. A1lorney                      Interpreter/Language
                      W I'1'IAL APPEARANCE NOT HELD - CONT'INUED
                           efenda       rmed of charge and right to: remain silent; appointment of counsel, rf md~gent; right [o bail; bail review and
                  ~ /~~iminary hear                             e oral hearing /      le 20.                                                                          l_
                  S~Defendant states true          s as charge       is ~fS~                         Rom.                         •'~     ES p•n  oz0.. e RLd     ~~ ~.~.J~~C-.
                                                                                                                                                                      T~ ~ ~,,
                    Court ORDERS the caption of the Indictment/Information be changed to re                        efendanYs di fe t true name.
                                                                                                                                             Tounsel
                                                                                                                                                C    are dir ted to     ~~d
                    file   uture documents reflecting the true name as stated on the record. ~~                                (~~ GLv~
                       efendant advised of consequenc                 false statement in financial affidavit   ~ Financial Affidavit ordered 51: ~L,P:17.~ ~                  << j►
                   ~ Attorney: kim Sa~~o, nFPn ~               Appointed ~~' Prev Appointed          ~ Poss. Contribution (see separate order)                               ~ /
                            Spcci~    ppcarimce h}'
                      G      ernmenYs request for de             is    '- 'RANTED        'DENIED '- WI'T'HDRAWN               "CONTINUED
                      Defendant is ordered-      - Permanently Detained            -- Temporarily Detained (see separate order).
                      BAIL FIXED AT $                                                (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                          Government moves to UNSEAL ComplainUlndic[ment/Information/Entire Case'                      GRANTED       -- ~ DENIED
                    °':'; Preliminary Hearing waived.
                  '
                  ~ Class B Misdemeanor ~~~= Defendant is advised of maximum penalties
                  `'This case is assigned to Magistrate Judge                                                          .Counsel are directed to contact the clerk for the
                    setting of all further proceedings.
                      PO/PSA WARRANT `-' Counsel are directed to contact the clerk for
                      District Judge                                                   for the setting of further proceedings.
                      Preliminary Hearing set for                         at 4.30 PM
                   ''' PIA set for:                                        at I:OOPM in LA; at 9:30 AM in Riverside; at 10:00 AM in Santa Ana
                     Government's motion to dismiss case/defendant                                                         only     GRANTED          '' DENIED
                      Defendant's motion to dismiss for lack of probable cause                 GRANTED ~          DENIED
                  '`' Defendant executed Waiver of Rights. `` Process received.
                  ''I Court ORDERS defendant Held to Answer to                                           District of
                             Bond to transfer, if bail is posted. Defendant to report on or before
                       ~-= Warrant of removal and final commitment to issue. Date issued:                                         By CRD:
                        "' Warrant of removal and final commitment are ordered stayed until
                   €~; Case continued to (Date)                                  (Time)                                               AM / PM
                       Type of Hearing:                             Before Judge                                                     /Duty Magistrate Judge.
                     P ceedings will be held in the '            Duty Courtroom                                    Judge's Courtroom
                      Defendant committed to [he custody of the U.S. Marshal ' Summons' Defendant ordered to report to USM for processing.
                      Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
                     A bstract of Order to Return Defendant to Court on Next Court Day (M-20)issued. Original forwarded to USM.


                     Other:                                                                                       Y~' W v`+~l~s

                                                                                                 -
                                                                                                 ANCIAL_~                         %READY
                                                                                                                                    Deputy Clerk Initials


     r
              MS (10/1J)                                  CALENDAR/PROCEEDING SHEET -LOCAL/OUT-OF-DISTRICT CASE                                             Page 1 of




                                                                                                                                                                 ER 98
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
                          WESTERN DIVISION - LOS ANGELES



       UNITED STATES OF AMERICA,         )    Case No. CR 17-288-AB
                                         )
             Plaintiff,                  )    Los Angeles, California
                                         )    Friday, June 2, 2017
                    v.                   )    3:23 P.M. to 3:35 P.M.
                                         )
       GABRIEL PINOSA SALAZAR,           )
                                         )
             Defendant.                  )
                                         )




                            TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE JACQUELINE CHOOLJIAN,
                         UNITED STATES MAGISTRATE JUDGE.



      Appearances:                       See Page 2

      Deputy Clerk:                      Hana Rashad

      Court Reporter:                    Recorded; CourtSmart

      Transcription Service:             JAMS Certified Transcription
                                         16000 Ventura Boulevard #1010
                                         Encino, California 91436
                                         (661) 609-4528




      Proceedings recorded by electronic sound recording;
      transcript produced by transcription service.




                                                                          ER 99
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      APPEARANCES:



      For the Plaintiff:            The United States Attorney's Office
                                    Central District of California
                                    Criminal Division
                                    By: SONAH LEE
                                    312 North Spring Street, 12th Floor
                                    Los Angeles, California 90012
                                    (213) 894-2400
                                    USACAC.Criminal@usdoj.gov



      For the Defendant:            Federal Public Defender
                                    Central District of California
                                    By: KIM SAVO
                                    321 East Second Street
                                    Los Angeles, California 90012-4206
                                    (213) 894-2854 (main)
                                    kim.savo@fd.org


      Also Appearing:               Javier Villalobos
                                    Spanish Language Interpreter




                                                                         ER 100
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          LOS ANGELES, CALIFORNIA, FRIDAY, JUNE 2, 2017, 3:23 P.M.

              (Call to Order of the Court.)

                   UNIDENTIFIED SPEAKER:        Excuse me, Your Honor?

                   THE COURT:     Yes?

                   UNIDENTIFIED SPEAKER:        There are two other

      defendants back in lockup that are coming before you today

      also.

                   THE COURT:     That require interpreters?

                   UNIDENTIFIED SPEAKER:        Yes.

                   THE COURT:     Okay.    Which --

                   UNIDENTIFIED SPEAKER:        (Indecipherable.)

                   THE COURT:     Yeah.    Because they're not on the

      calendar as requiring interpreters.            Maybe you can

      coordinate.

                   (Clerk confers with unidentified speaker.)

                   THE COURT:     Okay.    Let's just go.

                   All right.     We're not calling the cases yet, but

      you can stand there and translate.

                   So at this time I wish to advise the two defendants

      who are present of their constitutional and statutory rights

      in connection with these proceedings.            Please listen

      carefully.

                   You are here because you are charged with a

      criminal offense against the United States or with a

      supervised release violation.          You have received or will




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      receive a copy of the charging document.

                   You have the following constitutional and statutory

      rights:

                   You have the right to retain and be represented by

      an attorney of your own choosing at each and every stage of

      the proceedings.

                   If you cannot afford an attorney, you have a right

      to request that the Court appoint an attorney to represent

      you.    An appointed attorney will be paid by the Government at

      no cost to you.       You must, however, submit a financial

      affidavit to the Court before counsel will be appointed.                 If

      you make any false or misleading statements in that affidavit

      or if you willfully omit pertinent information, you'll be

      subject to further prosecution for violating federal law.

                   You have a right to remain silent.           Anything you

      say, sign, or write may be introduced against you in this or

      in any other court proceeding.

                   You have a right to have bail determined in

      accordance with the provisions of the Bail Reform Act.

                   If the Government seeks detention, you have the

      right to have a hearing on the first date of your appearance

      or within three to five court days if a continuance is

      requested and granted.

                   In the event you are detained, you have a right,

      upon written application, to have the detention order




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      reviewed by an assigned district judge.             You may be present

      at any hearing where further argument may be heard regarding

      detention.

                   If you are not a United States citizen, you have a

      right to request that an attorney for the Government or a

      federal law enforcement official notify a consular office

      from your country of nationality that you have been arrested,

      but even without such a request, it may be that a treaty or

      other international agreement requires such consular

      notification.

                   Just one moment.

                   (Court confers with clerk.)

                   THE COURT:     So, if you are here on a complaint and

      affidavit, you have a right to a preliminary hearing or to

      have the case presented to the grand jury within 14 days of

      this date if you remain in custody and 21 days if you're

      released on bond.

                   A preliminary hearing is a proceeding in which the

      Government presents its evidence and a judge decides if there

      is probable cause to believe the offense charged has been

      committed and that you have committed it.             If probable cause

      is not found, the matter will be submitted -- pardon me --

      dismissed.     If probable cause is found, you will be required

      to enter a plea to the charges.

                   Probable cause also may be established by the




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      return of an indictment by a grand jury.             If an indictment is

      returned prior to or on the date set for the preliminary

      hearing, the probable cause requirement is satisfied and no

      preliminary hearing will be held.           You'll then appear to

      plead to the indictment.

                   If you are here on a Central District indictment,

      you're entitled to a speedy and public trial by jury or by a

      judge alone if jury is waived.

                   You are entitled to be present at this arraignment

      and all proceedings which follow, including, without

      limitation, the time of the plea; every stage of the trial,

      including the paneling of the jury and the return of any

      verdict; and at the imposition of any sentence.

                   You are entitled to see and hear the evidence and

      witnesses against you and to cross-examine those witnesses.

                   You are entitled to subpoena witnesses and to

      compel the production of other evidence on your own behalf.

                   It is not necessary to prove your innocence.              It is

      the burden of the Government to prove guilt by proof beyond a

      reasonable doubt.

                   For your plea and further proceedings, your case

      has been or will be assigned to a district judge.               The

      particular judge for your case has been or will be selected

      randomly and will be announced after you're arraigned.

                   All motions other than those relating to bail or




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      detention are reserved and must be made before the district

      judge to whom the case is assigned.            However, if the district

      judge has requested that I take the not guilty pleas, you'll

      be asked to enter a not guilty plea today, and a trial date

      will be set.

                   Okay.    You can call these two cases.

                   THE CLERK:     Calling Case No. 17 CR-288,

      United States of America v. Gabriel Pinosa Salazar.

                   KIM SAVO:     Good afternoon, Your Honor.         Kim Savo

      from the Federal Public Defender on behalf of

      Jesus Raul Salazar-Espinoza.          He is present in custody before

      the Court being assisted by the Spanish language interpreter,

      seeking appointment of counsel.

                   THE COURT:     All right.

                   Sir, is your true name -- I'm sorry.            I have --

                   MS. SAVO:     Jesus Raul Salazar-Espinoza.

                   THE COURT:     Okay.    I have the wrong file.

                   (Court confers with clerk.)

                   THE COURT:     Okay.    Sorry.    All right.     Sorry.

                   MS. SAVO:     Giving you the true name.

                   THE COURT:     Yes.    So we've got every variation

      today.

                   Okay.    So, sir, your true name is

      Jesus Paul [sic] Salazar-Espinoza?

                   THE DEFENDANT:      Yes.




                                                                         ER 105
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                   THE COURT:     All right.     So I'm letting Government

      counsel know that that is the defendant's stated true name,

      and there may be an amendment needed to the charging document

      on that basis.      All right?

                   SONAH LEE:     Yes, Your Honor.

                   THE COURT:     All right.

                   Sir, has this -- well, did you hear and understand

      the statement of rights that I read earlier?

                   THE DEFENDANT:      Yes.

                   THE COURT:     All right.     And was this written

      statement of constitutional rights form translated for you?

                   THE DEFENDANT:      Yes.

                   THE COURT:     And did you sign that waiver -- I'm

      sorry -- that statement of rights?

                   THE DEFENDANT:      That's the one I signed; right?

                   THE COURT:     Yes.

                   And, Counsel, you signed that statement of rights

      as well?

                   MS. SAVO:     I did.

                   THE COURT:     All right.

                   Sir, was this financial affidavit translated for

      you?

                   THE DEFENDANT:      Yes.

                   THE COURT:     And did you provide the information

      that was placed on the form?




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                                                                      Page  126#:303



                    THE DEFENDANT:       Yes.

                    THE COURT:      And did you sign it understanding you

      were doing so under penalty of perjury?

                    THE DEFENDANT:       Yes.

                    THE COURT:      All right.     The Court will appoint the

      Federal Public Defender's Office and the person of Ms. Savo.

                    All right.      Sir, have you -- was the Indictment --

      that is, the charging document -- translated for you?

                    THE DEFENDANT:       Yes.

                    THE COURT:      Without telling me whether you admit or

      deny what's alleged, can you tell me:               Do you understand what

      it is the Government claims you did to violate the law?

                    THE DEFENDANT:       Yes.

                    THE COURT:      All right.     The Government has filed a

      request for detention.

                    Ms. Savo, the defense's position on that request at

      this point in time?

                    MS. SAVO:     Your Honor, we're not seeking bail at

      this time.      We simply ask that the Court enter that order

      without prejudice.

                    THE COURT:      All right.

                    And, Ms. Lee, can you make a proffer and include in

      that a statement as to whether or not this is a presumption

      case.

                    MS. LEE:     I apologize.      I was --




                                                                             ER 107
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                    (Pause.)

                    THE COURT:     So you're proffering, I assume, the

       Indictment and the Pretrial Services Report?

                    MS. LEE:    Yes, Your Honor.

                    THE COURT:     Okay.    And it is a presumption case?

                    MS. LEE:    It is a presumption case, Your Honor.

                    THE COURT:     Okay.    That's sufficient.

                    The Court will grant the Government's motion and

       find that the defendant has not at this point in time

       rebutted the presumption that he is a flight risk and danger

       to the community.       That order is without prejudice.           So

       should there come to light facts that cause the defense to

       believe it's appropriate to seek reconsideration, nothing in

       the order today prevents the defense from doing so.

                    All right.     This case has been assigned to

       District Judge Andre Birotte, Jr.           Judge Birotte asks that we

       take a not guilty plea at this time.

                    THE CLERK:     Jesus Raul Salazar-Espinoza, how do you

       plead to the charges contained in the Indictment?

                    THE DEFENDANT:      Not guilty.

                    THE COURT:     All right.     And can I ask the

       Government for a trial estimate, please.

                    MS. LEE:    I believe the trial would take about

       three days, Your Honor.

                    THE COURT:     I'm sorry.     Did you say three days or




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       three weeks?

                    MS. LEE:    Three days, Your Honor.

                    THE COURT:     Three days.     Okay.

                    All right.     Judge Birotte directs us to set two

       dates.

                    The first is for a status conference.            That date is

       June 19, '17, at 1:30 p.m.         Once again, for status, 6/19/17,

       1:30 p.m.

                    For jury trial, July 25, '17, at 8:30 a.m.             Once

       again, for jury trial, 7/25/17 at 8:30 a.m.

                    The parties are referred to Judge Birotte's

       procedures and schedules, and you go there to obtain a copy

       of his discovery order.         That's on the court's web site,

       www.cacd.uscourts.gov.

                    Judge Birotte is located in Courtroom 7B -- as in

       "boy" -- in the First Street Courthouse.

                    Anything else in this matter at this time?

                    MS. LEE:    Nothing further from the Government,

       Your Honor.

                    MS. SAVO:     Not at this time.       Thank you, Your

       Honor.

                    THE COURT:     Thank you.

             (Proceedings adjourned at 3:35 p.m.)

       ///

       ///




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                                       CERTIFICATE

             I certify that the foregoing is a correct transcript

       from the electronic sound recording of the proceedings in the

       above-entitled matter.



       /s/ Julie Messa_                      March 17, 2020
       Julie Messa, CET**D-403               Date
       Transcriber




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                                                                      WESTERN,APPEAL,CLOSED
                  UNITED STATES DISTRICT COURT
    CENTRAL DISTRICT OF CALIFORNIA (Western Division − Los Angeles)
         CRIMINAL DOCKET FOR CASE #: 2:17−cr−00288−AB−1

Case title: USA v. Salazar−Espinoza                        Date Filed: 05/16/2017
                                                           Date Terminated: 12/10/2019

Assigned to: Judge Andre Birotte Jr
Appeals court case number: 19−50377 9th
CCA

Defendant (1)
Jesus Raul Salazar−Espinoza               represented by Andrea Renee St Julian
TERMINATED: 12/10/2019                                   Andrea Renee St Julian
also known as                                            12707 High Bluff Drive Suite 200
Pedro                                                    San Diego, CA 92130
TERMINATED: 12/10/2019                                   858−792−6366
also known as                                            Fax: 858−792−6069
Jesus Salazar Cervantes                                  Email: astjulian@san.rr.com
TERMINATED: 12/10/2019                                   LEAD ATTORNEY
also known as                                            ATTORNEY TO BE NOTICED
Jesus Raul Salazar−Espinoza                              Designation: CJA Appointment
TERMINATED: 12/10/2019
also known as                                           Angel Navarro
Gabriel Pinosa Salazar                                  Angel Navarro Law Office
TERMINATED: 12/10/2019                                  1 South Fair Oaks Avenue Suite 401
                                                        Pasadena, CA 91105
                                                        626−390−6621
                                                        Email: angel_navarro@me.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: CJA Appointment

                                                        Kim Savo
                                                        Federal Public Defenders Office
                                                        321 East 2nd Street
                                                        Los Angeles, CA 90012−4206
                                                        213−894−2854
                                                        Fax: 213−894−0081
                                                        Email: Kim_Savo@fd.org
                                                        TERMINATED: 08/28/2017
                                                        Designation: Public Defender or Community
                                                        Defender Appointment

Pending Counts                                          Disposition
                                                        Defendant is committed on Counts 1 and 4 of
                                                        the Indictment to the Bureau of Prisons for
                                                        180 months, consisting of 120 months on
21:841(a)(1),(b)(1)(A)(viii)                            Count 1 and 60 months on Count 4, to be
POSSESSION WITH INTENT TO                               served consecutively. Supervised release for
DISTRIBUTE METHAMPHETAMINE                              five years on each of Counts 1 and 4 of the
(1)                                                     Indictment, all such terms to run
                                                        concurrently. Special assessment of $200. All
                                                        fines are waived.
18:924(c)(1)(A)(i)POSSESSION OF A                       Defendant is committed on Counts 1 and 4 of
FIREARM IN FURTHERANCE OF A                             the Indictment to the Bureau of Prisons for
DRUG TRAFFICKING CRIME                                  180 months, consisting of 120 months on
(4)                                                     Count 1 and 60 months on Count 4, to be
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                                                    served consecutively. Supervised release for
                                                    five years on each of Counts 1 and 4 of the
                                                    Indictment, all such terms to run
                                                    concurrently. Special assessment of $200. All
                                                    fines are waived.

Highest Offense Level (Opening)
Felony

Terminated Counts                                   Disposition
21:841(a)(1),(b)(1)(A)(i)POSSESSION                 On the Government's motion, all remaining
WITH INTENT TO DISTRIBUTE                           counts of the underlying Indictment are
HEROIN                                              ordered dismissed.
(2)
21:841(a)(1),(b)(1)(C)POSSESSION                    On the Government's motion, all remaining
WITH INTENT TO DISTRIBUTE                           counts of the underlying Indictment are
FENTANYL                                            ordered dismissed.
(3)
18:922(g)(1) FELON IN POSSESSION                    On the Government's motion, all remaining
OF A FIREARM AND AMMUNITION                         counts of the underlying Indictment are
(5)                                                 ordered dismissed.

Highest Offense Level (Terminated)
Felony

Complaints                                          Disposition
None


Plaintiff
USA                                     represented by Lauren Restrepo
                                                       AUSA − Office of US Attorney
                                                       Cyber and Intellectual Property Crimes
                                                       Section
                                                       312 North Spring Street 15th Floor
                                                       Los Angeles, CA 90012
                                                       213−894−3825
                                                       Fax: 213−894−0141
                                                       Email: lauren.restrepo@usdoj.gov
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Designation: Assistant US Attorney

                                                       Victoria A Degtyareva
                                                       AUSA − Office of US Attorney
                                                       Cyber and Intellectual Property Crimes
                                                       312 North Spring Street 15th Floor
                                                       Los Angeles, CA 90012
                                                       213−894−7635
                                                       Fax: 213−894−0142
                                                       Email: victoria.degtyareva@usdoj.gov
                                                       TERMINATED: 05/19/2017
                                                       Designation: Assistant US Attorney

                                                       William Rollins
                                                       AUSA − Office of US Attorney
                                                       General Crimes Section
                                                       312 North Spring Street Suite 1200

                                                                                ER 125 B
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                                                             Los Angeles, CA 90012
                                                             213−894−7407
                                                             Fax: 213−894−0141
                                                             Email: william.rollins@usdoj.gov
                                                             TERMINATED: 05/18/2018
                                                             Designation: Assistant US Attorney

Date Filed   #   Docket Text
05/16/2017    1 INDICTMENT Filed as to Gabriel Pinosa Salazar (1) count(s) 1, 2, 3, 4, 5. Offense
                occurred in LA. (ja) (Entered: 05/19/2017)
05/16/2017    3 CASE SUMMARY filed by AUSA Victoria A Degtyareva as to Defendant Gabriel
                Pinosa Salazar; defendant's Year of Birth: 1967 (ja) (Entered: 05/19/2017)
05/16/2017    4 MEMORANDUM filed by Plaintiff USA as to Defendant Gabriel Pinosa Salazar in
                regards to the following Magistrate Judges: Jacqueline Chooljian, Patrick J. Walsh,
                Sheri Pym, Michael Wilner, Alka Sagar, Jean Rosenbluth, Douglas McCormick,
                Rozella Oliver, Gail J Standish, Steve Kim (ja) (Entered: 05/19/2017)
05/16/2017    5 MEMORANDUM filed by Plaintiff USA as to Defendant Gabriel Pinosa Salazar. This
                criminal action, being filed on 5/16/17, was not pending in the U. S. Attorneys Office
                before the date on which Judge Andre Birotte Jr, and Judge Michael W. Fitzgerald
                began receiving criminal matters. (ja) (Entered: 05/19/2017)
05/16/2017    6 NOTICE OF REQUEST FOR DETENTION filed by Plaintiff USA as to Defendant
                Gabriel Pinosa Salazar (ja) (Entered: 05/19/2017)
05/19/2017    7 NOTICE OF APPEARANCE OR REASSIGNMENT of AUSA William Rollins on
                behalf of Plaintiff USA. Filed by Plaintiff USA. (Attorney William Rollins added to
                party USA(pty:pla))(Rollins, William) (Entered: 05/19/2017)
06/02/2017    8 REPORT COMMENCING CRIMINAL ACTION as to Defendant Gabriel Pinosa
                Salazar; defendant's Year of Birth: 1967; date of arrest: 5/31/2017 (ja) (Entered:
                06/07/2017)
06/02/2017    9 MINUTES OF ARREST ON INDICTMENT HEARING held before Magistrate Judge
                Jacqueline Chooljian as to Defendant Gabriel Pinosa Salazar. Defendant states true
                name as Jesus Raul Salazar−Espinoza. Attorney: Kim Savo for Gabriel Pinosa Salazar,
                Deputy Federal Public Defender, present. Court orders defendant Permanently
                detained. PIA held; see separate minutes. Defendant remanded to the custody of the
                USM. (SPANISH) INTERPRETER Required as to Defendant Gabriel Pinosa Salazar.
                Court to Government counsel: There may be an amendment needed to the charging
                document. Court Smart: CS 6/2/17. (ja) (Entered: 06/07/2017)
06/02/2017   10 STATEMENT OF CONSTITUTIONAL RIGHTS filed by Defendant Jesus Raul
                Salazar−Espinoza (ja) (Entered: 06/07/2017)
06/02/2017   11 ORDER OF DETENTION by Magistrate Judge Jacqueline Chooljian as to Defendant
                Jesus Raul Salazar−Espinoza (ja) (Entered: 06/07/2017)
06/02/2017   12 FINANCIAL AFFIDAVIT filed as to Defendant Jesus Raul Salazar−Espinoza. (Not
                for Public View pursuant to the E−Government Act of 2002) (ja) (Entered:
                06/07/2017)
06/02/2017   13 MINUTES OF POST−INDICTMENT ARRAIGNMENT: held before Magistrate
                Judge Jacqueline Chooljian as to Defendant Jesus Raul Salazar−Espinoza (1) Count
                1,2,3,4,5. Defendant arraigned, states true name: As stated. Defendant entered not
                guilty plea to all counts as charged. Attorney: Kim Savo, Deputy Federal Public
                Defender present. Case assigned to Judge Andre Birotte Jr..( Jury Trial set for
                7/25/2017 08:30 AM before Judge Andre Birotte Jr., Status Conference set for
                6/19/2017 01:30 PM before Judge Andre Birotte Jr.), (Spanish) INTERPRETER
                Required as to Defendant Jesus Raul Salazar−Espinoza Court Smart: CS 06/02/2017.
                (tba) (Entered: 06/07/2017)
06/13/2017   14 NOTICE OF MOTION AND MOTION to AMEND Indictment 1 Filed by Plaintiff
                USA as to Defendant Jesus Raul Salazar−Espinoza. (Attachments: # 1 Proposed
                Order) (Rollins, William) (Entered: 06/13/2017)
                                                                                      ER 126 C
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06/15/2017   15 STIPULATION to Continue Trial Date from 7/25/17 to 10/10/17 filed by Plaintiff
                USA as to Defendant Jesus Raul Salazar−Espinoza (Attachments: # 1 Proposed
                Order)(Rollins, William) (Entered: 06/15/2017)
06/16/2017   16 ORDER GRANTING THE GOVERNMENT'S UNOPPOSED MOTION TO
                AMEND THE INDICTMENT by Judge Andre Birotte Jr. as to Defendant Jesus Raul
                Salazar−Espinoza. Upon the Government's Motion 14 , IT IS HEREBY ORDERED
                that the indictment is amended to list "JESUS RAUL SALAZAR−ESPINOZA" as the
                primary name for defendant in this case. Exhibit B to the government's unopposed
                motion to amend shall be the operative indictment in this case, and the parties shall
                amend the case caption accordingly in all future filings. (gk) (Entered: 06/16/2017)
06/16/2017   17 ORDER CONTINUING TRIAL DATE AND FINDINGS REGARDING
                EXCLUDABLE TIME PERIODS PURSUANT TO SPEEDY TRIAL ACT by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. Jury Trial is continued
                to 10/10/2017 08:30 AM before Judge Andre Birotte Jr. Status Conference is
                continued to 9/11/2017 01:30 PM before Judge Andre Birotte Jr. (gk) (Entered:
                06/16/2017)
06/16/2017   18 AMENDED INDICTMENT Filed as to Jesus Raul Salazar−Espinoza (1) count(s) 1, 2,
                3, 4, 5 Re: Indictment 1 . Offense occurred in LA. (gk) (Entered: 06/19/2017)
07/18/2017   19 NOTICE TO PARTIES by District Judge Andre Birotte Jr.: Effective Monday, July
                31, 2017, Judge Birotte will hear all criminal matters on Fridays at 1:30 p.m. Any
                hearing currently on calendar for Monday, July 31st or later will be heard Friday of the
                same week. Hearing deadlines in scheduling orders shall be read to reflect the same.
                Motions filed in the month of July will adhere to the current briefing schedule, with
                opposition and reply briefs due on Mondays. For any motion filed July 31, 2017, or
                later (noticed for hearing on Friday, September 1, 2017, or later) the briefing schedule
                shall adhere to Local Rules 7−9 and 7−10, these deadlines each falling on a Friday in
                accordance with the new Friday calendar dates: 21 days prior for opposition papers
                and 14 days prior for reply papers. All Jury Trials will still commence on Tuesdays.
                THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.(rrp) TEXT
                ONLY ENTRY (Entered: 07/18/2017)
08/23/2017   20 (IN CHAMBERS) ORDER SETTING STATUS CONFERENCE by Judge Andre
                Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. A status conference is set for
                Monday, August 28, 2017 at 1:30 PM before Judge Andre Birotte Jr. Defendant and
                counsel are ordered to be present. THERE IS NO PDF DOCUMENT ASSOCIATED
                WITH THIS ENTRY.(cb) TEXT ONLY ENTRY (Entered: 08/23/2017)
08/28/2017   21 MINUTES OF Status Conference held before Judge Andre Birotte Jr. as to Defendant
                Jesus Raul Salazar−Espinoza. The Court is advised that defendant requests that new
                counsel be appointed. A sealed hearing was held. The transcript to this portion of the
                proceeding is ordered sealed unless otherwise ordered by the Court. The Court
                GRANTS the request. The Court relieves the Federal Public Defender of representing
                the defendant and appoints Angel Navarro, CJA counsel for defendant Jose Raul
                Salazar−Espinoza. The trial remains set for 10/10/2017 at 8:30 AM. Court Reporter:
                Chia Mei Jui. (gk) (Entered: 08/29/2017)
09/15/2017   23 (IN CHAMBERS) ORDER CONTINUING STATUS CONFERENCE by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. The status conference
                previously scheduled for today, September 15, 2017 is hereby CONTINUED to
                Friday, September 29, 2017 at 1:30 PM before Judge Andre Birotte Jr. Defendant and
                counsel are ORDERED to appear on this date and time.THERE IS NO PDF
                DOCUMENT ASSOCIATED WITH THIS ENTRY.(cb) TEXT ONLY ENTRY
                (Entered: 09/15/2017)
09/22/2017   24 STIPULATION to Continue Trial Date from 10/10/17 to 2/20/18 filed by Plaintiff
                USA as to Defendant Jesus Raul Salazar−Espinoza (Attachments: # 1 Proposed
                Order)(Rollins, William) (Entered: 09/22/2017)
09/26/2017   25 ORDER CONTINUING TRIAL DATE AND FINDINGS REGARDING
                EXCLUDABLE TIME PERIODS PURSUANT TO SPEEDY TRIAL ACT by Judge
                Andre Birotte Jr as to Defendant Jesus Raul Salazar−Espinoza. Jury Trial is continued
                to 2/20/2018 08:30 AM before Judge Andre Birotte Jr. Status Conference is continued
                to 1/26/2018 08:30 AM before Judge Andre Birotte Jr. (gk) (Entered: 09/26/2017)

                                                                                        ER 127 D
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10/01/2017   26 EX PARTE APPLICATION for an Order Requiring Probation Office to Prepare a
                Pre−Plea Report. Filed by Defendant Jesus Raul Salazar−Espinoza. (Attachments: # 1
                Proposed Order) (Navarro, Angel) (Entered: 10/01/2017)
10/03/2017   27 ORDER RE: PREPARATION OF PRE−PLEA PROBATION REPORT by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. Upon Defendant's
                Unopposed Ex Parte Application 26 , IT IS HEREBY ORDERED that the United
                States Probation Office prepare a pre−plea probation report with respect to defendant
                Jesus Raul Salazar−Espinoza's criminal history only. (gk) (Entered: 10/04/2017)
01/10/2018   29 STIPULATION to Continue Trial Date from 02/20/18 to 05/15/18 filed by Plaintiff
                USA as to Defendant Jesus Raul Salazar−Espinoza (Attachments: # 1 Proposed
                Order)(Rollins, William) (Entered: 01/10/2018)
01/11/2018   30 ORDER CONTINUING TRIAL DATE AND FINDINGS REGARDING
                EXCLUDABLE TIME PERIODS PURSUANT TO SPEEDY TRIAL ACT by Judge
                Andre Birotte Jr as to Defendant Jesus Raul Salazar−Espinoza. THEREFORE, FOR
                GOOD CAUSE SHOWN: The trial in this matter is continued from February 20, 2018
                to May 15, 2018. The status conference hearing is continued to April 20, 2018. (yl)
                (Entered: 01/12/2018)
04/16/2018   31 (IN CHAMBERS) ORDER CONTINUING STATUS CONFERENCE by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. This Court, on its own
                motion, hereby continues the Status Conference from April 20, 2018, to Friday, May
                4, 2018, at 01:30 PM before Judge Andre Birotte Jr. Defendant and counsel are
                ordered to appear on this date and time.THERE IS NO PDF DOCUMENT
                ASSOCIATED WITH THIS ENTRY. (cb) TEXT ONLY ENTRY (Entered:
                04/16/2018)
04/20/2018   32 (IN CHAMBERS) ORDER CONTINUING STATUS CONFERENCE by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. This Court, on its own
                motion, hereby CONTINUES the Status Conference from May 4, 2018, to Friday,
                May 11, 2018, at 1:30 PM before Judge Andre Birotte Jr. Defendant and counsel are
                ordered to appear on this date and time.THERE IS NO PDF DOCUMENT
                ASSOCIATED WITH THIS ENTRY. (cb) TEXT ONLY ENTRY (Entered:
                04/20/2018)
04/23/2018   33 STIPULATION to Continue TRIAL DATE AND FINDINGS REGARDING
                EXCLUDABLE TIME PERIODS PURSUANT TO SPEEDY TRIAL ACT from
                5/15/18 to 9/18/18 filed by Plaintiff USA as to Defendant Jesus Raul
                Salazar−Espinoza (Attachments: # 1 Proposed Order CONTINUING TRIAL DATE
                AND FINDINGS REGARDING EXCLUDABLE TIME PERIODS PURSUANT TO
                SPEEDY TRIAL ACT)(Rollins, William) (Entered: 04/23/2018)
04/24/2018   34 ORDER CONTINUING TRIAL DATE AND FINDINGS REGARDING
                EXCLUDABLE TIME PERIODS PURSUANT TO SPEEDY TRIAL ACT by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. Jury Trial is continued
                to 9/18/2018 08:30 AM before Judge Andre Birotte Jr. Status Conference is continued
                to 8/24/2018 01:30 PM before Judge Andre Birotte Jr. (gk) (Entered: 04/24/2018)
05/18/2018   35 NOTICE OF APPEARANCE OR REASSIGNMENT of AUSA Lauren Restrepo on
                behalf of Plaintiff USA. Filed by Plaintiff USA. (Attorney Lauren Restrepo added to
                party USA(pty:pla))(Restrepo, Lauren) (Entered: 05/18/2018)
08/14/2018   36 (IN CHAMBERS) ORDER CONTINUING STATUS CONFERENCE by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. This Court, on its own
                motion, hereby CONTINUES the Status Conference from August 24, 2018, to Friday,
                August 31, 2018, at 1:30 PM before Judge Andre Birotte Jr. Defendant and counsel are
                ordered to appear on this date and time.THERE IS NO PDF DOCUMENT
                ASSOCIATED WITH THIS ENTRY. (cb) TEXT ONLY ENTRY (Entered:
                08/14/2018)
08/24/2018   37 STIPULATION to Continue TRIAL DATE AND FINDINGS OF EXCLUDABLE
                TIME PERIODS PURSUANT TO SPEEDY TRIAL ACT from SEPTEMBER 18,
                2018 to NOVEMBER 20, 2018 filed by Plaintiff USA as to Defendant Jesus Raul
                Salazar−Espinoza (Attachments: # 1 Proposed Order)(Restrepo, Lauren) (Entered:
                08/24/2018)

                                                                                       ER 128 E
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08/30/2018   38 ORDER CONTINUING TRIAL DATE AND FINDINGS REGARDING
                EXCLUDABLE TIME PERIODS PURSUANT TO SPEEDY TRIAL ACT by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. Jury Trial is continued
                to 11/20/2018 08:30 AM before Judge Andre Birotte Jr. Status Conference is
                continued to 10/26/2018 01:30 PM before Judge Andre Birotte Jr. (gk) (Entered:
                08/30/2018)
10/23/2018   39 (IN CHAMBERS) ORDER CONTINUING STATUS CONFERENCE by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. At the request of
                counsel, the Status Conference is hereby continued from October 26, 2018, to Friday,
                November 2, 2018, at 1:30 PM before Judge Andre Birotte Jr. Defendant and counsel
                are ordered to appear on this date and time.THERE IS NO PDF DOCUMENT
                ASSOCIATED WITH THIS ENTRY. (cb) TEXT ONLY ENTRY (Entered:
                10/23/2018)
11/01/2018   40 NOTICE of Manual Filing of UNDER SEAL DOCUMENT filed by Plaintiff USA as
                to Defendant Jesus Raul Salazar−Espinoza (Restrepo, Lauren) (Entered: 11/01/2018)
11/01/2018   41 SEALED DOCUMENT UNDER SEAL FILING filed by Plaintiff USA(yl) (Entered:
                11/01/2018)
11/01/2018   42 SEALED ORDER SEALING DOCUMENT by Judge Andre Birotte. (yl) (Entered:
                11/01/2018)
11/01/2018   43 SEALED DOCUMENT GOVERNMENT'S UNDER SEAL FILING. (yl) (Entered:
                11/01/2018)
11/02/2018   44 MINUTES OF Change of Plea Hearing held before Judge Andre Birotte Jr as to
                Defendant Jesus Raul Salazar−Espinoza. Defendant sworn. Court questions defendant
                regarding the plea. The Defendant Jesus Raul Salazar−Espinoza (1) pleads GUILTY to
                Counts 1,2,3,and 4. The plea is accepted. The Court ORDERS the preparation of a
                Presentence Report. Sentencing set for 5/3/2019 01:30 PM before Judge Andre Birotte
                Jr. **The Court recommends that the defendant be seen, as soon as possible, to be
                given an examination for his diabetic condition.** Court Reporter: Chia Mei Jui. (yl)
                (Entered: 11/02/2018)
12/18/2018   45 NOTICE of Change of Attorney Business or Contact Information: for attorney Angel
                Navarro counsel for defendant Jesus Raul Salazar−Espinoza. Changing address to 1 S.
                Fair Oaks Avenue, Suite 401 Pasadena, CA 91105. Filed by defendant Jesus Raul
                Salazar−Espinoza (Navarro, Angel) (Entered: 12/18/2018)
04/22/2019   48 STIPULATION to Continue Sentencing Hearing Date from May 3, 2019 at 1:30 p.m.
                to September 6, 2019 at 1:30 p.m. filed by Defendant Jesus Raul Salazar−Espinoza
                (Attachments: # 1 Proposed Order)(Navarro, Angel) (Entered: 04/22/2019)
04/23/2019   49 ORDER RE: CONTINUANCE OF SENTENCING HEARING DATE 48 by Judge
                Andre Birotte Jr as to Defendant Jesus Raul Salazar−Espinoza that the Sentencing
                hearing in this case be continued to 9/6/2019 at 1:30 PM. (jp) (Entered: 04/23/2019)
08/27/2019   50 NOTICE of Manual Filing of UNDER SEAL DOCUMENT filed by Plaintiff USA as
                to Defendant Jesus Raul Salazar−Espinoza (Restrepo, Lauren) (Entered: 08/27/2019)
08/28/2019   51 SEALED GOVERNMENT'S EX PARTE APPLICATION for Order Sealing
                Documents; Memorandum of Points and Authorities; Declaration of Lauren Restrepo.
                (gk) (Entered: 08/29/2019)
08/28/2019   52 SEALED ORDER. (gk) (Entered: 08/29/2019)
08/28/2019   53 SEALED DOCUMENT − UNDER SEAL DOCUMENT. (gk) (Entered: 08/29/2019)
08/30/2019   54 (IN CHAMBERS) ORDER CONTINUING SENTENCING by Judge Andre Birotte
                Jr. as to Defendant Jesus Raul Salazar−Espinoza. This Court, on its own motion,
                hereby continues the sentencing in this matter from September 6, 2019, to Friday,
                September 20, 2019, at 1:30 PM before Judge Andre Birotte Jr. Defendant and counsel
                are ordered to appear on this date and time.THERE IS NO PDF DOCUMENT
                ASSOCIATED WITH THIS ENTRY. (cb) TEXT ONLY ENTRY (Entered:
                08/30/2019)


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09/16/2019   55 STIPULATION to Continue sentencing Hearing Date from September 20, 2019 at
                1:30 p.m. to November 8, 2019 at 1:30 p.m. filed by Defendant Jesus Raul
                Salazar−Espinoza (Attachments: # 1 Proposed Order)(Navarro, Angel) (Entered:
                09/16/2019)
09/18/2019   56 ORDER RE: CONTINUANCE OF SENTENCING HEARING DATE by Judge
                Andre Birotte Jr. as to Defendant Jesus Raul Salazar−Espinoza. Sentencing is
                continued to 11/8/2019 01:30 PM before Judge Andre Birotte Jr. (gk) (Entered:
                09/18/2019)
11/03/2019   57 EX PARTE APPLICATION to Continue Sentencing Hearing Date from November 8,
                2019 at 1:30 p.m. to November 22, 2019 at 1:30 p.m.. Filed by Defendant Jesus Raul
                Salazar−Espinoza. (Attachments: # 1 Proposed Order) (Navarro, Angel) (Entered:
                11/03/2019)
11/06/2019   58 ORDER RE: CONTINUANCE OF SENTENCING HEARING DATE by Judge
                Andre Birotte Jr. as to Jesus Raul Salazar−Espinoza. Upon Defendant's Ex Parte
                Application 57 , IT IS HEREBY ORDERED that the sentencing hearing date be
                continued to 12/6/2019 at 1:30 PM. (gk) (Entered: 11/06/2019)
11/24/2019   59 NOTICE of Manual Filing of Document, Application, Alternate Orders filed by
                Defendant Jesus Raul Salazar−Espinoza (Navarro, Angel) (Entered: 11/24/2019)
11/26/2019   60 SEALED APPLICATION to Seal. (gk) (Entered: 11/27/2019)
11/26/2019   61 SEALED ORDER. (gk) (Entered: 11/27/2019)
11/26/2019   62 SEALED DOCUMENT − DOCUMENT UNDER SEAL. (gk) (Entered: 11/27/2019)
12/03/2019   63 SENTENCING LETTER filed by Defendant Jesus Raul Salazar−Espinoza (Navarro,
                Angel) (Entered: 12/03/2019)
12/06/2019   64 MINUTES OF SENTENCING Hearing held before Judge Andre Birotte Jr. as to
                Defendant Jesus Raul Salazar−Espinoza. The transcript to the proceeding is sealed.
                Counsel may obtain a copy of the transcript without further order of the court. All
                others must obtain a court order. Defendant Jesus Raul Salazar−Espinoza (1), Count(s)
                1 and 4, Defendant is committed on Counts 1 and 4 of the Indictment to the Bureau of
                Prisons for 180 months, consisting of 120 months on Count 1 and 60 months on Count
                4, to be served consecutively. Supervised release for five years on each of Counts 1
                and 4 of the Indictment, all such terms to run concurrently. Special assessment of
                $200. All fines are waived. Count(s) 2, 3, and 5, On the Government's motion, all
                remaining counts of the underlying Indictment are ordered dismissed. Defendant
                advised of right of appeal. See Judgment for further details. Court Reporter: Chia Mei
                Jui. (gk) (Entered: 12/10/2019)
12/10/2019   65 JUDGMENT AND COMMITMENT by Judge Andre Birotte Jr. as to Defendant Jesus
                Raul Salazar−Espinoza (1), Count(s) 1 and 4, Defendant is committed on Counts 1 and
                4 of the Indictment to the Bureau of Prisons for 180 months, consisting of 120 months
                on Count 1 and 60 months on Count 4, to be served consecutively. Supervised release
                for five years on each of Counts 1 and 4 of the Indictment, all such terms to run
                concurrently. Special assessment of $200. All fines are waived. Count(s) 2, 3, and 5,
                On the Government's motion, all remaining counts of the underlying Indictment are
                ordered dismissed. Defendant advised of right of appeal. See Judgment for further
                details. (gk) (Entered: 12/10/2019)
12/19/2019   67 NOTICE OF APPEAL to Appellate Court filed by Defendant Jesus Raul
                Salazar−Espinoza re Judgment and Commitment,, 65 . IFP REQUESTED. (Navarro,
                Angel) (Entered: 12/19/2019)
12/19/2019   68 NOTIFICATION by Circuit Court of Appellate Docket Number 19−50377 as to
                Defendant Jesus Raul Salazar−Espinoza, 9th CCA regarding Notice of Appeal to
                USCA − Final Judgment 67 . (gk) (Entered: 12/23/2019)
01/14/2020   69 ORDER of USCA filed as to Defendant Jesus Raul Salazar−Espinoza regarding
                Notice of Appeal to USCA − Final Judgment 67 , CCA #19−50377. The motion of
                appellant's appointed counsel, Angel Navarro, Esq., to be relieved as counsel of record
                and for appointment of new counsel is granted. Counsel will be appointed by separate
                order. The Clerk shall electronically serve this order on the appointing authority for the

                                                                                         ER 130 G
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             Central District of California, who will locate appointed counsel. See document for
             further details. (gk) (Entered: 01/15/2020)




                                                                                   ER 131 H
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            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


UNITED STATES OF                       )   U.S.C.A. No. 19!50377
AMERICA,                               )
Plaintiff/Appellee,                    )   U.S.D.C. No. 2:17-cr-00288-AB-1
                                       )
v.                                     )   Central District of California
                                       )
JESUS RAUL SALAZAR-                    )
ESPINOZA,                              )   CERTIFICATE OF SERVICE
 Defendant/Appellant.                  )
                                       )
                                       )
                                       )
                                       )


      I hereby certify that on December 2, 2020, I served the Appellant’s


Opening Brief and the Volumes 1, 2, and 3 of the Excerpts of Record by


sending the same via e-mail, addressed as follows:


Lauren Restrepo
Assistant United States Attorney
Email: Lauren.restrepo@usdoj.gov




                                                                            ER 132
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     I also certify that on December 2, 2020, I mailed Volumes 1 and 2 of


the Excerpts of Record by First-Class Mail, postage prepaid, or have


dispatched it to a third party commercial carrier for delivery within 3


calendar days to the defendant/appellant as follows:


Mr. Jesus Raul Salazar-Espinoza,
Register Number: 74978-112
FCI Victorville Medium II
Federal Correctional Institution
PO Box 3850
Adelanto, CA 92301


     The Opening Brief and Volume 3 were not served on the


defendant/appellant at the request of the appellant and because those


documents were filed under seal.


     I declare under penalty of perjury that the foregoing is true and


correct. Executed on December 2, 2020, at San Diego, California.


                                     /s/   Andrea R. St. Julian
                                            Andrea R. St. Julian


                                                                          ER 133
